     Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 1 of 117




June 21, 2023

VIA CERTIFIED MAIL RETURN RECEIPT
AND EMAIL


Robyn M. Roth
Fain, Major, & Brennan, P.C.
One Premier Plaza
5605 Glenridge Drive, NE
Atlanta, Georgia 30342
rroth@fainmajor.com


       Re:      Ronald Wright v Eusebio Sanchex and Cobra Carrier, LLC
                Clayton County State Court; Civil Action No: 2023CV00526

                                   30-Day Time Limit Demand

Dear Ms. Roth:

        I write to convey to you, Eusebio Sanchez, and Cobra Carrier, LLC, an offer to settle the
claims my client has asserted in the above-referenced case. This notice and offer of compromise is
directed to you as the representative of the Defendants to O.C.G.A. § 9-11-67.1, O.C.G.A. § 13-6-
11, and General Ins. Co., v. Holt, 262 Ga. 267 (1992). This communication is only intended for the
use of compromise and is not permitted to be submitted as evidence in Georgia or Federal courts
pursuant to O.C.G.A. § 24-4-408. We are also attaching a copy of our client’s complaint for damages,
photographs of the vehicles and scene, as well as the medical records and bills in our possession at
this time for the injuries our client sustained in the subject collision.

         Provided all terms of the offer contained in this letter are met, my client, Mr. Ronald Wright
will accept payment of One Million Dollars ($1,000,000.00) from Cobra Carrier, LLC in exchange
for which my client will execute a limited liability release. If the available insurance coverage is
any amount other than ($1,000,000.00), or if there are additional policies of insurance available,
then this offer of compromise is hereby automatically adjusted to the full and combined amount
of all insurance policy limits available that cover the claim identified in this offer to compromise.
In exchange for the agreed upon payment, my client will compromise any valid and legally
enforceable hospital and governmental liens arising from the subject collision upon the settlement
from the proceeds of the settlement.

       Mr. Wright has incurred significant medical expenses with future medicals forthcoming.
Mr. Sanchez was the driver of Cobra Carrier, LLC was the owner of the vehicle which struck my


  178 South Main Street, Suite 300, Alpharetta, GA 30009 | (770) 576-7634 | ForThePeople.com
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client. Your client will be held liable and apportioned fault for their failure to keep a proper and
safe lookout while driving, failure to operate the vehicle at a reasonable and prudent speed, failure
to timely apply brakes, failure to take necessary precautions to avoid any collision, and reckless
driving.

        This offer to settle is time-limited and will remain open until 5:00 p.m. on July 21, 2023,
after which it will be automatically withdrawn. A material term of this offer of settlement is
delivery of payment by 5:00 p.m. on July 20, 2023. Additionally, a material term of this offer of
settlement is execution of the attached Affidavit of No Additional Insurance. If this offer is not
accepted and an excess verdict is obtained, then we will pursue all your insured’s wages and assets
until the judgment is paid in full.

ECONOMIC DAMAGES:

       Provider                                                      Amount
       Atlanta Spine Institute                                       TBD
       American Health Imaging                                       $4,595.00
       Benchmark                                                     $3,514.00
       Copeland BrainConcussion                                      $1,900.00
       United Neurology                                              $21,012.00
       Future Medicals                                               $TBD

                                                              Total: $31,021.00


                                                              Sincerely,


                                                              Edward J. Hardrick, Esq.
                                                              Attorney for Plaintiff
                                                              ehardrick@forthepeople.com

Verdict Magazine Link:
https://www.dropbox.com/s/t5t1xfz0zeky4gf/Verdict%20Magazine_web%20%281%29.pdf?dl=0


EJH/lr
Enclosure
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                                   2023CV00526                           e-Filed 4/14/2023 11:57 AM




                                                                                                       Tiki Brown
                                                                                              Clerk of State Court
                        IN STATE COURT OF CLAYTON COUNTY                                 Clayton County, Georgia
                                                                                                 Shalonda Green
                                 STATE OF GEORGIA


 RONALD WRIGHT,

                Plaintiff,                             CIVIL ACTION
 vs.                                                   FILE NO: 2023CV00526

 EUSEBIO SANCHEZ and COBRA
 CARRIER, LLC,                                         JURY TRIAL DEMANDED

                Defendants.




 PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR
                           TRIAL BY JURY


        COMES NOW Plaintiff, RONALD WRIGHT and files his amended Complaint against

EUSEBIO SANCHEZ and COBRRA CARRIER, LLC as follows:

                              PARTIES AND JURISDICTION

                                               1.

        Plaintiff RONALD WRIGHT is a resident of the State of Georgia.

                                               2.

        Defendant EUSEBIO SANCHEZ (hereinafter “Sanchez”) is a resident of the State of

Texas, whose last known address is 7817 E Trenton Road, Edinburg (Hidalgo County) Texas

78542. Defendant may be served at that address.

                                               3.

        Defendant COBRA CARRIER, LLC (hereinafter “COBRA CARRIER, LLC”) is a

company with its principal place of business located at 1012 10th Street Alamo, (Hidalgo County)
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Texas 78516. Upon information and belief, Defendant may be served by their registered agent at

that address.

                                                  4.

       Defendants are subject to the jurisdiction of this Court.

                                                  5.

       Venue is proper in Clayton County, Georgia.

                                        BACKGROUND

                                                 6.

       Plaintiff realleges and incorporates herein by reference paragraphs 1 through 5 above as if

the same were restated herein verbatim.

                                                 7.

      On or about January 30, 2023, Plaintiff was operating his vehicle in a safe and prudent

manner in Clayton County, Georgia.



                                                  8.

       At the same time, Defendant SANCHEZ was driving a 2000 Peterbilt 379 tractor-trailer

traveling North on North Parkway in the far left lane preparing to turn left on Georgia Hwy 331 in

Clayton County when he negligently and recklessly operated his vehicle by completing an

improper left turn and colliding into Plaintiff’s vehicle.

                                                  9.

       As a direct and proximate result of this collision, Plaintiff suffered bodily injuries, property

loss, and damages for which he has incurred expenses.
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           COUNT I – NEGLIGENCE OF DEFENDANT EUSEBIO SANCHEZ

                                                 10.

       Plaintiff realleges and incorporates herein by reference paragraphs 1 through 9 above as if

the same were restated herein verbatim.

                                                  11.

       Defendant owed Plaintiff the duty of a reasonably prudent driver while operating his

truck; to keep a proper lookout; to maintain a safe following distance; to maintain his lane of

travel; to pay attention and avoid driver distractions at all times; to properly control his vehicle;

and to take proper evasive action(s) when necessary.

                                                  12.

       Defendant breached those duties by failing to remain observant while operating a tractor-

trailer and colliding with the Plaintiff and therefore, he was negligent in colliding with Plaintiff’s

vehicle.

                                                  13.

       As a direct and proximate result of the aforesaid negligence and breaches of duty by

Defendant SANCHEZ, Plaintiff has suffered significant injuries, medical expenses, and damages.

These damages include emotional distress, personal inconvenience, mental and physical pain and

suffering, loss wages, loss of enjoyment of life, due to the violence of the collision and injuries to

the Plaintiff’s body plus an inability to live a normal life. As a result of the subject collision,

Plaintiff has incurred medical expenses, which final amount will be determined.
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  COUNT II – NEGLIGENT ENTRUSTMENT OF DEFENDANT COBRA CARRIER,
                               LLC

                                               14.

       Plaintiff realleges and incorporates herein by reference paragraphs 1 through 13 above as

if the same were restated herein verbatim.

                                               15.

       Defendant COBRA CARRIER, LLC negligently entrusted its 2000 Peterbilt semi-truck to

Defendant EUSEBIO SANCHEZ when they knew or should have known that Defendant

EUSEBIO SANCHEZ was incompetent to drive and allowed him to have access to the motor

vehicle anyway.

                                               16.

        Therefore, Defendant COBRA CARRIER, LLC is liable for the negligence of

Defendant EUSEBIO SANCHEZ.


    COUNT III – IMPUTED LIABILITY OF DEFENDANT COBRA CARRIER, LLC

                                               17.

       Plaintiffs reallege and incorporate herein the allegations contained in paragraphs 1 through

16 above as if fully restated.

                                               18.

       At the time of the subject crash, Defendant SANCHEZ was an employee of and/or under

dispatch for Defendant COBRA CARRIER, LLC.

                                                19.
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       At the time of the subject-crash, Defendant SANCHEZ was operating his tractor-trailer

truck for and/or on behalf of Defendant COBRA CARRIER, LLC.

                                                  20.

       At the time of the subject-crash, Defendant SANCHEZ was acting within the scope of his

employment with Defendant COBRA CARRIER, LLC.



                                                  21.

       Defendant COBRA CARRIER, LLC is responsible for the actions of Defendant

SANCHEZ in the subject-crash under the doctrine of respondeat superior, agency and/or apparent

agency.

                                                  22.

       As a direct and proximate result of the aforesaid negligence and breaches of duty by

Defendant COBRA CARRIER, LLC. Plaintiff has suffered significant injuries, medical expenses,

and damages. These damages include emotional distress, personal inconvenience, mental and

physical pain and suffering, loss wages, loss of enjoyment of life, due to the violence of the

collision and injuries to the Plaintiff’s body plus an inability to live a normal life. As a result of

the subject collision, Plaintiff has incurred medical expenses, which final amount will be

determined.


          COUNT IV – NEGLIGENT HIRING, TRAINING AND SUPERVISION OF
                       DEFENDANT COBRA CARRIER, LLC

                                                 23.

       Plaintiffs reallege and incorporate herein the allegations contained in paragraphs 1 through

22 above as if fully restated.
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                                                  24.

        Defendant COBRA CARRIER, LLC was negligent in hiring Defendant SANCHEZ and

entrusting him to operate the tractor-trailer truck.

                                                 25.

        Defendant COBRA CARRIER, LLC was negligent in failing to properly train Defendant

SANCHEZ.

                                                 26.

        Defendant COBRA CARRIER, LLC was negligent in failing to properly supervise

Defendant SANCHEZ.

                                                 27.

        Defendant COBRA CARRIER, LLC’s negligence in hiring Defendant SANCHEZ and

entrusting him to operate the truck, and in failing to properly train and supervise Defendant

SANCHEZ, was the sole and proximate cause of the subject-crash, and Plaintiff’s resulting

injuries.

                                                 28.

        Plaintiff is entitled to recover form Defendants for his past, present and future medical

expenses and past, present, and future pain and suffering, in an amount to be determined at trial,

as well as all other damages allowed under Georgia law.



            COUNT VI - ATTORNEYS’ FEES AND EXPENSES OF LITIGATION

                                                 29.

        Plaintiff realleges and incorporates herein by reference paragraphs 1 through 34 above as

if the same were restated herein verbatim.
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                                 2023CV00526




                                                 30.

       Defendants, individually and by and through their representatives, have been stubbornly

litigious and has caused Plaintiff unnecessary trouble and expense.

                                                 31.

       Defendants are liable to Plaintiff for the expenses of litigation, including attorney’s fees,

pursuant to O.C.G.A. § 13-6-11.



                             COUNT VII – PUNITIVE DAMAGES

                                                 32.

       Plaintiff realleges and incorporates herein by reference paragraphs 1 through 37 above as

if the same were restated herein verbatim.

                                                 33.

       Defendants’ conduct was reckless, willful and wanton, and demonstrates a conscious

indifference to the consequences of their actions set forth above, therefore, entitles Plaintiff to an

aware of punitive damages in this matter.



       WHEREFORE, Plaintiff RONALD WRIGHT respectfully prays and demands as follows:

       a.      That Process and Summons issue, as provided by law, requiring Defendants to

appear and answer Plaintiff’s Complaint;

       b.      That service be had upon Defendants as provided by law;

       c.      That Plaintiff have and recover general damages from Defendants, as the jury

deems is liable to Plaintiff, and in such an amount as the jury deems just and appropriate to fully
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and completely compensate Plaintiff for all of his injuries and pain and suffering, mental, physical,

and emotional, past, present, and future;

        d.         That Plaintiff have and recover from Defendants, special damages for past and

future medical expenses and loss of income in the past and future in such an amount as shall be

proven at trial;

        e. That Plaintiff have and recover from Defendants, punitive damages for willful

             misconduct, malice, or that entire want of care which would raise the presumption of

             conscious indifference to consequences;

        f.         That this matter be tried to a jury of twelve;

        g.         That all costs be cast against the Defendants; and

        h.         For such other and further relief as this Court deems just and appropriate.




        This 14th day of April, 2023.

                                                               Respectfully submitted,

                                                               /s/ Edward Hardrick
                                                               EDWARD HARDRICK, ESQ.
                                                               Georgia Bar No. 606792
 Morgan & Morgan, PLLC                                         Attorney for Plaintiff
 178 S Main Street
 Unit 300
 Alpharetta, Georgia 30009
 Main: (770) 576-7634
 (Fax): (770) 576-7684
 ehardrick@forthepeople.com
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                                  2023CV00526




                                                                                                          Tiki Brown
      IN THE STATE COURT OF CLAYTON COUNTY, GEORGIA                                              Clerk of State Court
                                                                                            Clayton County, Georgia
       9151 TARA BOULEVARD, ROOM 1CL181, JONESBORO, GEORGIA 30236                                    Hannah Lowery
              TELEPHONE: (770) 477-3388 * FACSIMILE: (770) 472-8159
______________________________________________________________________________


Ronald Wright
__________________________________

__________________________________

__________________________________
                        Plaintiff
                                                                       2023CV00526
Vs.                                                                 ___________________
                                                                    Case Number
Sanchez Arredondo and Cobra Carrier, LLC
__________________________________

__________________________________

__________________________________
                        Defendant

                                               SUMMONS
TO THE ABOVE NAMED DEFENDANT(S): Cobra Carrier, LLC
You are hereby summoned and required to file with the Clerk of said Court and serve upon
Plaintiff’s Attorney, whose name and address is:
Morgan and Morgan, PLLC c/o Edward Hardrick, ESQ.
178 S. Main Street, Unit 300
Alpharetta, GA 30009




answer to the complaint which is herewith served upon you, within 30 days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, Judgment by default will
be taken against you for the relief demanded in the complaint.

                                                     TIKI BROWN
                                                     CLERK OF COURT
                                                     State Court of Clayton County


           Hannah Lowery
By:___________________________________
Deputy Clerk
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           EXHIBIT
         ACCIDENT REPORT
                              A
                          Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 13 of 117                                                                                                                    Page 1 of 3
        Agency Case Number                         Agency NCIC Number                 GEORGIA                                                                     County                               Date Rec. by GDOT
              230100464                                GA0310600           MOTOR VEHICLE CRASH REPORT                                                            CLAYTON
           Estimated Crash                                   Dispatch                        Arrival                                                          Total Number of                                Inside City of
        Date             Time                          Date           Time           Date            Time                                            Vehicles     Injuries   Fatalities
     01/30/2023          1625                       01/30/2023        1625        01/30/2023         1630                                               2             0          0                            LAKE CITY

Road of                                                                                           At Its
Occurrence GEORGIA HWY 331                                                                        Intersection With NORTH PARKWAY                                                                     p Corrected Report

Not At Its                           p Miles             p North              p East
                                                                                                                                                                                                      p Sup To Original
Intersection But                     p Feet              p South              p West              Of
Latitude (Y)                            33.61607750                                               Longitude (X)                            -84.35232290
                                                                                                                                                                                                      p Hit and Run
     (Format)                                00.00000                                                  (Format)                                -00.00000
Unit #     n Driver           LAST NAME                                      FIRST                MIDDLE          Unit #    n Driver           LAST NAME                                       FIRST                  MIDDLE
           p Ped              ARREDONDO                                     SANCHEZ              EUSEBIO                    p Ped              WRIGHT                                         RONALD
     1                                                                                                                 2
           p Bike             Address                                                                                       p Bike             Address
n Susp At Fault               7817 E TRENTON RD                                                                   p Susp At Fault              6029 DAN DRIVE
 City                                    State                           Zip                 DOB                  City                             State         Zip                 DOB
                                                                         78542-              03/27/1976           ELLENWOOD                        GA            30294-              11/21/1950
Driver's License No.            Class                                    State              Country               Driver's License No.             Class         State              Country
18576189                        A                                        TX                 US                    053890084                        CM            GA                 US
Insurance Co.             Policy No.                                             Telephone No.                    Insurance Co.             Policy No.                   Telephone No.
PROGRESSIVE                   963546538                                          956-784-5460                     FIRST LIBERTY INSURANCE C AO625133901285               678-559-2917
Year                       Make                                                  Model                            Year                       Make                        Model
2000                      PETERBILT                                              379                              2007                      HONDA                        CIVIC EX
VIN                                                                      Vehicle Color                            VIN                                            Vehicle Color
1NP5DB9X2YN544528                                                        BLUE                                     JHMFA16897S005978                              BLACK
Tag #                State            County                                         Year                         Tag #                State             County              Year
R400760              TX                                                              2023                         TFD6294              GA                CLAYTON             2023
Trailer Tag #        State            County                                         Year                         Trailer Tag #        State             County              Year
214C884              TX                                                              2023
p Same as Driver     Owner's Last Name                                    First            Middle                 n Same as Driver              Owner's Last Name                           First               Middle
                     COBRA CARRIER LLC                                                                                                          WRIGHT                                      RONALD
Address                                                                                                           Address
1012 N 10TH ST                                                                                                    6029 DAN DRIVE
City                       State                                                    Zip                           City                                  State                                         Zip
ALAMO                      TX                                                     78516-                          ELLENWOOD                             GA                                          30294-
Removed By:                                                                                    n Request          Removed By:                                                                                     n Request
DRIVER                                                                                         p List             DRIVER                                                                                          p List
 Alco Test:           Type:            Results:          Drug Test:               Type:         Results:          Alco Test:           Type:               Results:        Drug Test:               Type:          Results:
 2                                                       2                                                        2                                                        2

 First Harmful Event:          11      Most Harmful Event: 11                     Operator/Ped Cond: 1            First Harmful Event:          11         Most Harmful Event: 11                   Operator/Ped Cond: 1

 Operator Contributing Factors:                   11                                                              Operator Contributing Factors:                      1

 Vehicle Contributing Factors:           1               Roadway Contributing Factors:             1              Vehicle Contributing Factors:             1             Roadway Contributing Factors:               1

 Direction of Travel: 1               Vehicle Maneuver:              1            Non-Motor Maneuver:             Direction of Travel: 1               Vehicle Maneuver:                1           Non-Motor Maneuver:

 Vehicle Class:       7               Vehicle Type:           4                   Vision Obscured:         1      Vehicle Class:       1               Vehicle Type:            1                   Vision Obscured:          1

 Number of Occupants: 1               Area of Initial Contact: 1                  Damage to Veh:       2          Number of Occupants: 1               Area of Initial Contact: 7                   Damage to Veh:        2

 Traffic-Way Flow: 1                  Road Comp:          2                       Road Character:      1          Traffic-Way Flow: 1                  Road Comp:           2                       Road Character:       1

 Number of Lanes: 4                   Posted Speed: 40                            Work Zone: 0                    Number of Lanes: 4                   Posted Speed: 40                             Work Zone: 0

 Traffic Control:         2                                       Device Inoperative: p Yes n No                  Traffic Control:         2                                        Device Inoperative: p Yes n No

 Citation Information:                                                                                            Citation Information:
 Citation #      470700020                                O.C.G.A. § 40-6-120                                     Citation #                                                O.C.G.A. §
 Citation #                                               O.C.G.A. §                                              Citation #                                                O.C.G.A. §
 Citation #                                               O.C.G.A. §                                              Citation #                                                O.C.G.A. §
                                                                                      COMMERCIAL MOTOR VEHICLES ONLY
 Carrier Name:                                                                                                    Carrier Name:
 COBRA CARRIER LLC
 Address                            City                                            State          Zip            Address                                                  City                       State           Zip
 1012 N 10TH ST                  ALAMO                                              TX           78516-
 U.S. D.O.T. #                           No. of Axles                                         G.V.W.R.            U.S. D.O.T. #                                                     No. of Axles                 G.V.W.R.
 3135995                                      5                                                 80000
  Cargo Body Type  Vehicle Config.       n Interstate                                      Fed. Reportable            Cargo Body Type            Vehicle Config.                     p Interstate            Fed. Reportable
          2               6              p Intrastate                                      p Yes      n No                                                                           p Intrastate            p Yes      p No

 C.D.L.?                            p Yes n No           C.D.L. Suspended?                    p Yes n No          C.D.L.?                            p Yes p No            C.D.L. Suspended?                     p Yes p No

 Vehicle Placarded?                 p Yes n No           Hazardous Materials?                 p Yes n No          Vehicle Placarded?                 p Yes p No            Hazardous Materials?                  p Yes p No

 Haz Mat Released?                  p Yes n No                                                                    Haz Mat Released?                  p Yes p No

 If YES:        Name or four Digit Number from Diamond or Box:                                                    If YES:      Name or four Digit Number from Diamond or Box:

                One Digit Number from Bottom of Diamond:                                                                       One Digit Number from Bottom of Diamond:

 p Ran Off Road       p Down Hill Runaway               p Cargo Loss or Shift         p Separation of Units        p Ran Off Road      p Down Hill Runaway                p Cargo Loss or Shift         p Separation of Units

GDOT-523 (07/17)
                       Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 14 of 117                                                                                         Page 2 of 3
                                                                                  COLLISION FIELDS
 Manner of Collision: 1                Location at Area of Impact: 7         Weather:      2                        Surface Condition: 1                       Light Condition:    1

                                                                                       NARRATIVE
On January 30, 2023 at approximately 1625 hours, I responded to Georgia Hwy 331 at North
Parkway in reference to a vehicle wreck.

I made contact with Ronald Wright (Driver 2) who said that he was traveling north on
North Parkway in the far right lane to turn left onto Georgia Hwy 331. He said vehicle 1
came over into his lane striking the rear of his driver side.

I spoke with Sanchez Arredondo (Driver 2) he said he was traveling north on North
Parkway approaching Georgia Hwy 331. He said that he was in the far left lane on North
 (continued...)
                                                                                        DIAGRAM




                                                                        PROPERTY DAMAGE INFORMATION
 Damage Other Than Vehicle:                                                                Owner:

                                                                               WITNESS INFORMATION
 Name (Last, First)                                        Address                                               City                    State         Zip Code            Telephone Number

 ,

 ,


                                                                             OCCUPANT INFORMATION
     Name (Last, First): ARREDONDO, SANCHEZ                                                        Address: 7817 E TRENTON RD ,

     Age:     46           Sex:   M      Unit #:   1      Position: 1         Safety Eq: 3         Ejected: 1           Extricated: 2     Air Bag: 2         Injury:   0         Taken for 2
1
                                                                                                                                                                                 Treatment:
     Injured Taken To:                    By:                                 EMS Notified Time (Fatality Only):        EMS Arrival Time (Fatality Only):     Hospital Arrival Time (Fatality Only):
                                                                              0000                                      0000                                  0000

     Name (Last, First): WRIGHT, RONALD                                                            Address: 6029 DAN DRIVE ELLENWOOD, GA, 30294-

     Age:     72           Sex:   M      Unit #:   2      Position: 1         Safety Eq: 3         Ejected: 1           Extricated: 2     Air Bag: 2         Injury:   0         Taken for 2
2
                                                                                                                                                                                 Treatment:
     Injured Taken To:                    By:                                 EMS Notified Time (Fatality Only):        EMS Arrival Time (Fatality Only):     Hospital Arrival Time (Fatality Only):
                                                                              0000                                      0000                                  0000

     Name (Last, First):                                                                           Address:

     Age:                  Sex:          Unit #:          Position:           Safety Eq:           Ejected:             Extricated:       Air Bag:           Injury:             Taken for
3
                                                                                                                                                                                 Treatment:
     Injured Taken To:                    By:                                 EMS Notified Time (Fatality Only):        EMS Arrival Time (Fatality Only):     Hospital Arrival Time (Fatality Only):



     Name (Last, First):                                                                           Address:

     Age:                  Sex:          Unit #:          Position:           Safety Eq:           Ejected:             Extricated:       Air Bag:           Injury:             Taken for
4
                                                                                                                                                                                 Treatment:
     Injured Taken To:                    By:                                 EMS Notified Time (Fatality Only):        EMS Arrival Time (Fatality Only):     Hospital Arrival Time (Fatality Only):


                                                                                     ADMINISTRATIVE
 Photos Taken:        p Yes By:                                                                Officer Note: If collision resulted in a fatality, please send prompt notification to the GDOT Crash
                      n No                                                                           Reporting Unit via either email at GeorgiaFARS@dot.ga.gov or Fax at (404) 635-2963.
 Report By:                            Agency:                          Report Date:           Checked By:                                                     Date Checked:
 HOWARD, QUANTAVIOUS                   GA0310600                        01/30/2023             ROWE, BRIAN                                                     01/30/2023


GDOT-523 (07/17)              MAIL TO: Georgia Department of Transportation, CRASH REPORTING UNIT, 935 East Confederate Ave., Atlanta, GA 30316-2590
                     Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 15 of 117                                                                             Page 3 of 3
                                                                      SUPPLEMENT
                                                           GEORGIA MOTOR VEHICLE CRASH REPORT
Agency Case Number: 230100464                           Estimated Crash Date: 01/30/2023                               Officer Name: HOWARD, QUANTAVIOUS
                                                                            NARRATIVE
 Parkway turning left onto Georgia Hwy 331. He said that he didn�t know he had struck
vehicle 2.

Vehicle 1 had minor damage to the front right side. Vehicle 2 had minor damage to the
rear of the driver side. No Injuries were reported at the time of the incident. Driver 1
was cited for O.C.G.A 40-6-120 Improper left turn.




                                                               ADDITIONAL CITATION INFORMATION
Unit #       :                                                                       Unit #       :
Citation #                            O.C.G.A. §                                     Citation #                                       O.C.G.A. §
Citation #                            O.C.G.A. §                                     Citation #                                       O.C.G.A. §
Citation #                            O.C.G.A. §                                     Citation #                                       O.C.G.A. §
Citation #                            O.C.G.A. §                                     Citation #                                       O.C.G.A. §
Citation #                            O.C.G.A. §                                     Citation #                                       O.C.G.A. §
Citation #                            O.C.G.A. §                                     Citation #                                       O.C.G.A. §
Citation #                            O.C.G.A. §                                     Citation #                                       O.C.G.A. §
                                                               ADDITIONAL OCCUPANT INFORMATION
   Name (Last, First): ,                                                              Address: , ,

   Age:                Sex:     Unit #:            Position:        Safety Eq:        Ejected:           Extricated:       Air Bag:           Injury:            Taken for
                                                                                                                                                                 Treatment:
   Injured Taken To:            By:                                 EMS Notified Time (Fatality Only):   EMS Arrival Time (Fatality Only):    Hospital Arrival Time (Fatality Only):



   Name (Last, First): ,                                                              Address: , ,

   Age:                Sex:     Unit #:            Position:        Safety Eq:        Ejected:           Extricated:       Air Bag:           Injury:            Taken for
                                                                                                                                                                 Treatment:
   Injured Taken To:            By:                                 EMS Notified Time (Fatality Only):   EMS Arrival Time (Fatality Only):    Hospital Arrival Time (Fatality Only):



   Name (Last, First): ,                                                              Address: , ,

   Age:                Sex:     Unit #:            Position:        Safety Eq:        Ejected:           Extricated:       Air Bag:           Injury:            Taken for
                                                                                                                                                                 Treatment:
   Injured Taken To:            By:                                 EMS Notified Time (Fatality Only):   EMS Arrival Time (Fatality Only):    Hospital Arrival Time (Fatality Only):



   Name (Last, First): ,                                                              Address: , ,

   Age:                Sex:     Unit #:            Position:        Safety Eq:        Ejected:           Extricated:       Air Bag:           Injury:            Taken for
                                                                                                                                                                 Treatment:
   Injured Taken To:            By:                                 EMS Notified Time (Fatality Only):   EMS Arrival Time (Fatality Only):    Hospital Arrival Time (Fatality Only):



   Name (Last, First): ,                                                              Address: , ,

   Age:                Sex:     Unit #:            Position:        Safety Eq:        Ejected:           Extricated:       Air Bag:           Injury:            Taken for
                                                                                                                                                                 Treatment:
   Injured Taken To:            By:                                 EMS Notified Time (Fatality Only):   EMS Arrival Time (Fatality Only):    Hospital Arrival Time (Fatality Only):




 GDOT-523 SUPP (07/17)
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               EXHIBIT
    Medical Provider
 American Health Imaging
                              A
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                          A}IERICAN HEALTH IIIAGINC, INC.'S
                     CERTIFICATE OF AUTHENTICATION OF RECORDS
          Thc'undersigned hereby cenilies and affirms that he/she is the custodian of the anached
records. and that:

       a. The records attached hercto are frue and accurate reproductions of the original records,
          u'hich are maintained by me:
       b. The records attached hereto were made at or near lhe time ofthe described acts, events,
          conditions, opinions, or diagnoses;
       c. The records attached hereto were made by. or from information transmitted by a person
          with personal knorvledge and a business dury.. to repon;
       d. The records anached hereto s ere kcpt in the course ol a regularly conductcd business
          activity; and
       e. It is the regular practice of this business to make the memorandum. report. record, andor
          data compilations. attached hereto.

This certificate is given pursuant to O.C.G.A. $$ 24-8-803(6), 24-9-902(l lXl2) in lieu of the
personal app earance of the undersigned.
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AMERICAN HEALTH IMAGING
2200 Century Parkway NE
Suite 600
ATLANTA, GA 30345
Phone: (404)639-5530
Fax: (404)297-5237

Patient: 835440 - WRIGHT, RONALD


DATE       REF. DOCTOR      DOCTOR PROCEDURE             MODIFIER   ICD        CHARGES      PAYMENTS    ADJUSTMENTS BALANCE PAYSOURCE
02/14/2023 BINDRA, MEETALI PARK, JAY 72141 - MRI,                   M48.02,     $2,225.00
                           SUNG      Cervical, without              M50.21,
                                     contrast.                      M47.812

                                                                               $2,225.00        $0.00          $0.00 $2,225.00
02/14/2023 BINDRA, MEETALI PARK, JAY 72148 - MRI,                   M48.061,    $2,370.00
                           SUNG      Lumbar, without                M51.26,
                                     contrast.                      M47.816

                                                                               $2,370.00        $0.00          $0.00 $2,370.00
                                       Account Total:                          $4,595.00        $0.00          $0.00 $4,595.00




                                                                                                                                  Page 1 of 1
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               EXHIBIT
           Medical Provider
             Benchmark
                              A
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05-09-23

Ronald Wright
6029 Dan Dr
Ellenwood, GA 30294

2525696

Diagnosis

1.   M54.2        Cervicalgia
2.   M54.16       Radiculopathy, lumbar region

03-09-23     97162    PT Eval-Moderate Complexity                     315.00
03-09-23     97530    Therapeutic/Kinetic Activ [1]                    96.25
03-13-23     97140    Manual Therapy [2]                              168.00
03-13-23     97530-59 Therapeutic/Kinetic Activ [1]                    96.25
03-13-23     97110    Therapeutic Exercise [1]                         80.50
03-15-23     97140    Manual Therapy [2]                              168.00
03-15-23     97530-59 Therapeutic/Kinetic Activ [1]                    96.25
03-15-23     97110    Therapeutic Exercise [1]                         80.50
03-20-23     97530-59 Therapeutic/Kinetic Activ [1]                    96.25
03-20-23     97140    Manual Therapy [1]                               84.00
03-20-23     97110    Therapeutic Exercise [1]                         80.50
03-20-23     97112    Neuro Re-Education [1]                           80.50
03-22-23     97530-59 Therapeutic/Kinetic Activ [1]                    96.25
03-22-23     97140    Manual Therapy [1]                               84.00
03-22-23     97110    Therapeutic Exercise [1]                         80.50
03-22-23     97112    Neuro Re-Education [1]                           80.50
03-27-23     97530-59 Therapeutic/Kinetic Activ [1]                    96.25
03-27-23     97140    Manual Therapy [1]                               84.00
03-27-23     97110    Therapeutic Exercise [1]                         80.50
03-27-23     97112    Neuro Re-Education [1]                           80.50
04-03-23     97530-59 Therapeutic/Kinetic Activ [1]                    96.25
04-03-23     97140    Manual Therapy [1]                               84.00
04-03-23     97110    Therapeutic Exercise [1]                         80.50
04-03-23     97112    Neuro Re-Education [1]                           80.50
04-10-23     97530-59 Therapeutic/Kinetic Activ [1]                    96.25
04-10-23     97140    Manual Therapy [1]                               84.00
04-10-23     97110    Therapeutic Exercise [1]                         80.50
04-10-23     97112    Neuro Re-Education [1]                           80.50
04-17-23     97530    Therapeutic/Kinetic Activ [1]                    96.25
04-17-23     97535-59 ADL's [1]                                        96.25
04-17-23     97110    Therapeutic Exercise [1]                         80.50
04-17-23     97112    Neuro Re-Education [1]                           80.50
05-02-23     97530    Therapeutic/Kinetic Activ [1]                    96.25
05-02-23     97535-59 ADL's [1]                                        96.25
05-02-23     97110    Therapeutic Exercise [1]                         80.50
05-02-23     97112    Neuro Re-Education [1]                           80.50
                                                                ------------
                                                                     3514.00
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Number of Visits:   10

Total Charges:   3514.00
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                                                    End of Care
Date of Visit:                  05-02-23                                        Therapist:Michael Baens PTA
Patient Name:                   Wright, Ronald                               Referring MD:Meetali Bindra NP
Patient #:                      2525696                                           Time In:10:49a
Date of Birth:                  11-21-1950                                       Time Out:11:45a
Age:                            72

Total Time based minutes: 56 Total Treatment time: 56

Date of Onset:       01-30-2023

Diagnosis:
M54.2          Cervicalgia
M54.16         Radiculopathy, lumbar region

SUBJECTIVE:
Ronald Wright has attended a total of 10 treatment sessions following evaluation of Physical Therapy. Treatment has
focused on the clients chief complaints of:

1. Current pain level, moderate 2. Decreased functional/ADL status, moderate 3. Difficulty sleeping, moderate 4. Loss of
motion - stiffness, moderate 5. Weakness, moderate
Presenting Problems:
Patient states pain is located @ Cx & Lx spine.

Pain rating:
Currently: 8/10
At best: 7/10
At worse: 10/10

Aggravating factors: sitting, driving, picking objects from floor, reading
Alleviating factors: ibuprofen

Severity: mod
Irritability: mod
Functional Status                    Prior             Current
Walking                              No limitations    Moderate pain &
                                                       difficulty
Sitting                              No limitations    Moderate pain &
                                                       difficulty
Functional ADLs                      No limitations    Moderate pain &
                                                       difficulty

Work Status:
retired

                                                                                    Patient: Ronald Wright, DOB: 11-21-1950

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Contraindications:
1. Standard Precautions

Daily: Pt reports to clinic reporting "I feel alright. My neck is feeling much better." He reports



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Pt presents to clinic with referring dx for Cervical pain and Lumbar radiculopathy s/p mva

PMhx: uneventful
PSxhx:N/A



OBJECTIVE:
CERVICAL EVALUATION
RANGE OF MOTION:
        Cervical          Initial     Goal        Last                     Current                              Comments
         AROM            03-09-23              04-10-23                    05-02-23
Flexion (45-60)             25                     30                          35
Extension (45-50)           25                     28                          32
Right Rotation (60-80)      21                     44                          60      P! minor
Left Rotation (60-80)       35                     36                          55      P! minor
Right Side Bend (20-45)     15                     15                          25      P!
Left Side Bend (20-45)      15                     20                          24      P!
POSTURE:
The patient posture was observed as forward head.

SENSATION:
Sensation is unremarkable.
PALPATION:
TTP at bil cervical paraspinals ( R > L)


LUMBAR EVALUATION
RANGE OF MOTION:
        Lumbar           Initial                Goal           Last        Current                              Comments
         AROM           03-09-23                            04-10-23       05-02-23
Flexion (40-60)            35                    50             55            65
Extension (20-30)          15                    20             23            25       P!
Right Rotation (3-18)     50%                   100%           50%           75%
Left Rotation (3-18)      50%                   100%           75%           75%
Right Side Bending (15-   50%                   100%           50%           90%       P!
25)
Left Side Bending (15-    50%                   100%           50%           75%       P!
25)
MANUAL MUSCLE TEST:
                                                                                                     Patient: Ronald Wright, DOB: 11-21-1950

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         Lumbar                  Initial       Goal          Last        Current                          Comments
          MMT                 03-09-23                   04-10-23        05-02-23
Flexion                              4-                       5              5
Extension                            4-                      4+             4+
Right Rotation                       4-                       5              5
Left Rotation                        4-                       5              5
Right Side Bending                   4-                       5              5
Left Side Bending                    4-                       5              5
Lower          Initial               Goal         Last                   Current           Comments
Extremity
MMT            03-09-23                           04-10-23               05-02-23
R Hip Flex     4                                  4                      4
L Hip Flex     4                                  4                      4
R Knee Ext     5                                  5                      5
L Knee Ext     5                                  5                      5
R Knee Flex    5                                  5                      5
L Knee Flex    5                                  5                      5


GAIT:
WNL

POSTURE:
The patient posture was observed as forward head.

PALPATION:


No TTP noted

ACTIVITY LOG:

Exercises                                   Comment   Sets        Reps       Wt     Time   Done       Spec    Provider        Weekly     Weekly
                                                                                           Today                              Goal       Goal Met
97110 - Ther-Ex / Procedure - [TP001]       ======== ===          ===        ===== 16      Yes                12907 (PTA)
                                            ========                                                          Michael Baens
Cervical Spine AROM - Rotation              hold 5                                         Yes                12907 (PTA)
                                            seconds                                                           Michael Baens
Cervical Stretch - Levator Scapula          hold 30  1            3                        Yes                12907 (PTA)
                                            seconds                                                           Michael Baens
Lumbar Spine AROM- Lower trunk                                                             Yes                12907 (PTA)
rotation                                                                                                      Michael Baens
Cervical Spine AROM - Extension             hold 5                                         Yes                12907 (PTA)
                                            seconds                                                           Michael Baens
Thoracic Spine AROM - Rotation              hold 5   3            10                       Yes                12907 (PTA)
sidelying (open book)                       seconds                                                           Michael Baens
Cervical Spine AROM - Rotation              hold 5                                         Yes                12907 (PTA)
                                            seconds                                                           Michael Baens
97112 - Neuro Re-Ed - [TP002]               ======== ===          ===        ===== 18      Yes                12907 (PTA)
                                            ========                                                          Michael Baens
Cervical Spine - Chin Tuck                           3            10                       Yes                12907 (PTA)
                                                                                                              Michael Baens
                                                                                                 Patient: Ronald Wright, DOB: 11-21-1950

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Exercises                                   Comment    Sets    Reps   Wt    Time   Done       Spec    Provider        Weekly     Weekly
                                                                                   Today                              Goal       Goal Met
Shoulder Scapular Retraction                           3       10     RTB          Yes                12907 (PTA)
                                                                                                      Michael Baens
Lumbar / SI Stabilization - hip flexion -              3       10                  Yes                12907 (PTA)
stability ball                                                                                        Michael Baens
Lumbar / SI Stabilization - pelvic tilts                                           Yes                12907 (PTA)
                                                                                                      Michael Baens
Lumbar / SI Stabilization - Swiss Ball      seated: hold 3     10                  Yes                12907 (PTA)
push downs                                  5 seconds                                                 Michael Baens
Dead Bug                                    hooklying:     3   10                  Yes                12907 (PTA)
                                            ball pess - 5                                             Michael Baens
                                            second hold
97530 - Therapeutic Activity - [TP009]      ======== ===       ===    ===== 13     Yes                12907 (PTA)
                                            ========                                                  Michael Baens
HEP - written instruction provided          Pt ed: safety,                         Yes                12907 (PTA)
                                            exercise                                                  Michael Baens
                                            frequency
                                            and duration,
                                            symptom
                                            control,
                                            mechanics,
                                            and
                                            precautions.
Education on anatomy & physiology of                                               Yes                12907 (PTA)
present condition/healing time                                                                        Michael Baens
Chart Review                                                                       Yes                12907 (PTA)
                                                                                                      Michael Baens
97535 - Self Care Mgmt / ADL training - ======== ===           ===    ===== 9      Yes                12907 (PTA)
[TP012]                                 ========                                                      Michael Baens
Shoulder - pulleys                      flx/scap/abd:                              Yes                12907 (PTA)
                                        3x2min rds                                                    Michael Baens




Activity Comments
Mr. Wright has attended 10 sessions. He feels that he's met his goals and is ready to discharge and continue with just his
HEP. He has experienced an improved ability to perform his ADLs, as noted by his reduced pain and his scores in both his
NDI (30) and Oswestry (34). He has been given an updated HEP and educated on the importance of consistently
performing it to continue to progress towards his PLOF; pt verbalized understanding. Mr. Wright will be discharged at this
time.

ASSESSMENT:
The patient is able to perform exercises correctly. The patient's progress towards goals is good and his tolerance to
treatment is good. The patient's discharge prognosis is good. DC: 5/2/23 Mr. Wright has attended 10 sessions. He feels that
he's met his goals and is ready to discharge and continue with just his HEP. He has experienced an improved ability to
perform his ADLs, as noted by his reduced pain and his scores in both his NDI (30) and Oswestry (34). He has been given
an updated HEP and educated on the importance of consistently performing it to continue to progress towards his PLOF; pt
verbalized understanding. Mr. Wright will be discharged at this time. Assessment signed and approved by Jouan Cox PT,
DPT.


PN Mr. Wright has attended 8 sessions. He has increased his cervical ROM in all directions except R sidebending; he has
increased his lumbar flexion and L rotation and has increased his lumbar strength in all planes, as per his objective
measures. He has the most difficulty/pain when carrying/lifting things and when reaching above his shoulders and presents
                                                                                         Patient: Ronald Wright, DOB: 11-21-1950

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w/decreased cervical ROM in all planes. Patient will benefit from skilled therapy to continue to address his impairments and
progress towards his goals. Assessment signed and approved by Jouan Cox PT, DPT



Patient presents with signs and symptoms that are consistent with: referring dx of Cx pain and Lx radiculopathy s/p MVA

Comorbidities and barriers to rehab include: standard precautions

The current impairments identified include: decreased cervical and lumbar ROm and pain; poor posture, decreased postural
endurance, decreased core and UE strength

The functional deficits are as follows: difficulty with sitting, prolonged standing, reading, lifting, and driving.

Skilled intervention is required to address the listed impairments and functional limitations to meet the patient's set goals.



Goals                                                 Short-LongTime     Result             Comment                     Last
                                                                 Frame                                                  Assessed
Decrease pain to 6/10 or less with functional         Short Term 3 weeks Met                                            5/2/23
activities
Pt will demonstrate an improvement in cervical     Short Term 3 weeks Met                                               5/2/23
and lumbar ROM in all directions at least 5
degrees and no limitations due to pain.
Patient will demonstrate functional improvement Short Term 3 weeks Not met                                              5/2/23
in ADLS and daily activities as indicated by
decrease in functional impairment rating to <28%.
Pt will demo/verbalize independent HEP and the Long Term 6 weeks Met                                                    5/2/23
importance of a continued exercise/stretching
program.
Decrease pain to 3/10 or less with functional      Long Term 6 weeks Not met                                            5/2/23
activities
Patient will demonstrate functional improvement Long Term 6 weeks Not met                                               5/2/23
in ADLS and daily activities as indicated by
decrease in functional impairment rating to <15%.
Pt will be able to perform all activities such as  Long Term 6 weeks Met                                                5/2/23
prolonged standing, sitting, lifting, reading, and
performing ADLS.

PLAN:
Reason for concluding the current episode of care:
1. Met goals 2. Patient wished to discontinue care

Thank you for your referral.

Best regards,




Michael Baens PTA


                                                                                          Patient: Ronald Wright, DOB: 11-21-1950

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This document was electronically signed on 05-02-23 at 11:58a by Michael Baens PTA.




Jouan Cox PT DPT


This document was electronically cosigned on 05-02-23 at 03:27p by Jouan Cox PT.




                                                                                      Patient: Ronald Wright, DOB: 11-21-1950

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                                                                Daily Note
Date of Visit:                         04-17-23                                                        Therapist:Michael Baens PTA
Patient Name:                          Wright, Ronald                                            Referring MD:Meetali Bindra NP
Patient #:                             2525696                                                        Time In:11:47a
Date of Birth:                         11-21-1950                                                       Time Out:12:44p
Age:                                   72

Total Time based minutes: 57 Total Treatment time: 57

Date of Onset:             01-30-23

Diagnosis:
M54.2              Cervicalgia
M54.16             Radiculopathy, lumbar region

SUBJECTIVE:
Daily: Pt reports to clinic reporting "I feel pretty good, I think I'm getting better."



----------------------------------------------------------------------------------------------------------------------------------------------------------
Pt presents to clinic with referring dx for Cervical pain and Lumbar radiculopathy s/p mva

PMhx: uneventful
PSxhx:N/A


Contraindications:
1. Standard Precautions

OBJECTIVE:

ACTIVITY LOG:

Exercises                                     Comment         Sets      Reps       Wt        Time     Done         Spec       Provider         Weekly          Weekly
                                                                                                      Today                                    Goal            Goal Met
97110 - Ther-Ex / Procedure - [TP001]         ======== ===              ===        ===== 16           Yes                     12907 (PTA)
                                              ========                                                                        Michael Baens
Cervical Spine AROM - Rotation                hold 5                                                  Yes                     12907 (PTA)
                                              seconds                                                                         Michael Baens
Cervical Stretch - Levator Scapula            hold 30  1                3                             Yes                     12907 (PTA)
                                              seconds                                                                         Michael Baens
Lumbar Spine AROM- Lower trunk                                                                        Yes                     12907 (PTA)
rotation                                                                                                                      Michael Baens
Cervical Spine AROM - Extension               hold 5                                                  Yes                     12907 (PTA)
                                              seconds                                                                         Michael Baens
                                                                                                            Patient: Ronald Wright, DOB: 11-21-1950

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Exercises                                   Comment    Sets    Reps   Wt    Time   Done       Spec    Provider        Weekly     Weekly
                                                                                   Today                              Goal       Goal Met
Thoracic Spine AROM - Rotation              hold 5   3         10                  Yes                12907 (PTA)
sidelying (open book)                       seconds                                                   Michael Baens
Cervical Spine AROM - Rotation              hold 5                                 Yes                12907 (PTA)
                                            seconds                                                   Michael Baens
97112 - Neuro Re-Ed - [TP002]               ======== ===       ===    ===== 18     Yes                12907 (PTA)
                                            ========                                                  Michael Baens
Cervical Spine - Chin Tuck                           3         10                  Yes                12907 (PTA)
                                                                                                      Michael Baens
Shoulder Scapular Retraction                           3       10     RTB          Yes                12907 (PTA)
                                                                                                      Michael Baens
Lumbar / SI Stabilization - hip flexion -              3       10                  Yes                12907 (PTA)
stability ball                                                                                        Michael Baens
Lumbar / SI Stabilization - pelvic tilts                                           Yes                12907 (PTA)
                                                                                                      Michael Baens
Lumbar / SI Stabilization - Swiss Ball      seated: hold 3     10                  Yes                12907 (PTA)
push downs                                  5 seconds                                                 Michael Baens
Dead Bug                                    hooklying:     3   10                  Yes                12907 (PTA)
                                            ball pess - 5                                             Michael Baens
                                            second hold
97530 - Therapeutic Activity - [TP009]      ======== ===       ===    ===== 13     Yes                12907 (PTA)
                                            ========                                                  Michael Baens
HEP - written instruction provided          Pt ed: safety,                         Yes                12907 (PTA)
                                            exercise                                                  Michael Baens
                                            frequency
                                            and duration,
                                            symptom
                                            control,
                                            mechanics,
                                            and
                                            precautions.
Education on anatomy & physiology of                                               Yes                12907 (PTA)
present condition/healing time                                                                        Michael Baens
Chart Review                                                                       Yes                12907 (PTA)
                                                                                                      Michael Baens
97535 - Self Care Mgmt / ADL training - ======== ===           ===    ===== 10     Yes                12907 (PTA)
[TP012]                                 ========                                                      Michael Baens
Shoulder - pulleys                      flx/scap/abd:                              Yes                12907 (PTA)
                                        3x2min rds                                                    Michael Baens



ASSESSMENT:
The patient is able to perform exercises correctly. The patient's progress towards goals is good and his tolerance to
treatment is good.
Treatment remains focused on improving cervical/lumbar mobility and functional strengthening. Pt able to perform all
activities w/o an increase of symptoms. Added pulleys activities to improve patient's ability to lift/reach when performing daily
tasks; pt tolerated it well. Will continue to progress as tolerated.


Goals                                                      Short-LongTime     Result       Comment                         Last
                                                                      Frame                                                Assessed
Decrease pain to 6/10 or less with functional              Short Term 3 weeks Ongoing
activities
Pt will demonstrate an improvement in cervical             Short Term 3 weeks Ongoing
and lumbar ROM in all directions at least 5
                                                                                         Patient: Ronald Wright, DOB: 11-21-1950

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Goals                                                    Short-LongTime            Result    Comment                      Last
                                                                   Frame                                                  Assessed
degrees and no limitations due to pain.
Patient will demonstrate functional improvement Short Term 3 weeks Ongoing
in ADLS and daily activities as indicated by
decrease in functional impairment rating to <28%.
Pt will demo/verbalize independent HEP and the Long Term 6 weeks Ongoing
importance of a continued exercise/stretching
program.
Decrease pain to 3/10 or less with functional      Long Term 6 weeks Ongoing
activities
Patient will demonstrate functional improvement Long Term 6 weeks Ongoing
in ADLS and daily activities as indicated by
decrease in functional impairment rating to <15%.
Pt will be able to perform all activities such as  Long Term 6 weeks Ongoing
prolonged standing, sitting, lifting, reading, and
performing ADLS.

PLAN:

Ronald will continue with therapist management as outlined in the plan of care. This is visit # 9.

Patient/caregiver of patient has consented to treatment and understands the diagnosis, prognosis and treatment goals
associated with this plan of care.

Best regards,




Michael Baens PTA


This document was electronically signed on 04-17-23 at 01:45p by Michael Baens PTA.




Jouan Cox PT DPT


This document was electronically cosigned on 04-17-23 at 02:57p by Jouan Cox PT.




                                                                                            Patient: Ronald Wright, DOB: 11-21-1950

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                                                 Progress Note
Date of Visit:                  04-10-23                                          Therapist:Michael Baens PTA
Patient Name:                   Wright, Ronald                                Referring MD:Meetali Bindra NP
Patient #:                      2525696                                            Time In:11:40a
Date of Birth:                  11-21-1950                                        Time Out:12:33p
Age:                            72                                      Certification Period:04-11-23 / 05-02-23

Total Time based minutes: 53 Total Treatment time: 53

Date of Onset:       01-30-2023

Diagnosis:
M54.2           Cervicalgia
M54.16          Radiculopathy, lumbar region

Scheduled appointments during reporting period:9
Completed treatment sessions:                  8
Missed treatment sessions:                     1

SUBJECTIVE:
Ronald Wright, attended for therapy evaluation on 03-09-23 for evaluation of Physical Therapy. The patient has attended 8
treatment sessions since the evaluation.

Treatment to date has focused on the client's chief complaints of:
1. Current pain level 2. Decreased functional/ADL status 3. Difficulty sleeping 4. Loss of motion - stiffness 5. Weakness

Presenting Problems:
The patient reports:
1. Current pain level, moderate 2. Decreased functional/ADL status, moderate 3. Difficulty sleeping, moderate 4. Loss of
motion - stiffness, moderate 5. Weakness, moderatePatient states pain is located @ Cx & Lx spine.

Pain rating:
Currently: 8/10
At best: 7/10
At worse: 10/10

Aggravating factors: sitting, driving, picking objects from floor, reading
Alleviating factors: ibuprofen

Severity: mod
Irritability: mod

Functional Status                    Prior             Current
Walking                              No limitations    Moderate pain &
                                                       difficulty
Sitting                              No limitations    Moderate pain &
                                                                                     Patient: Ronald Wright, DOB: 11-21-1950

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Functional Status                             Prior                 Current
                                                                    difficulty
Functional ADLs                               No limitations        Moderate pain &
                                                                    difficulty

Work Status:
retired

Contraindications:
1. Standard Precautions


Other Subjective Comments:
Daily: Pt reports to clinic reporting "I feel like I'm getting better."



----------------------------------------------------------------------------------------------------------------------------------------------------------
Pt presents to clinic with referring dx for Cervical pain and Lumbar radiculopathy s/p mva

PMhx: uneventful
PSxhx:N/A



OBJECTIVE:
CERVICAL EVALUATION
RANGE OF MOTION:
        Cervical          Initial     Goal        Last                          Current                                  Comments
         AROM            03-09-23              03-09-23                         04-10-23
Flexion (45-60)             25                     25                               30        P!
Extension (45-50)           25                     25                               28        P!
Right Rotation (60-80)      21                     21                               44        P!
Left Rotation (60-80)       35                     35                               36        P!
Right Side Bend (20-45)     15                     15                               15        P!
Left Side Bend (20-45)      15                     15                               20        P!
POSTURE:
The patient posture was observed as forward head.

SENSATION:
Sensation is unremarkable.
PALPATION:
TTP at bil cervical paraspinals ( R > L)


LUMBAR EVALUATION
RANGE OF MOTION:
        Lumbar                     Initial          Goal           Last         Current                                  Comments
         AROM                     03-09-23                       03-09-23       04-10-23
Flexion (40-60)                       35              50             35             55        P!
Extension (20-30)                     15              20             15             23        P!
                                                                                                            Patient: Ronald Wright, DOB: 11-21-1950

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Right Rotation (3-18)      50%            100%           50%              50%    P!
Left Rotation (3-18)       50%            100%           50%              75%    P!
Right Side Bending (15-    50%            100%           50%              50%    P!
25)
Left Side Bending (15-     50%            100%           50%              50%    P!
25)
MANUAL MUSCLE TEST:
        Lumbar            Initial          Goal          Last         Current                          Comments
          MMT            03-09-23                    03-09-23         04-10-23
Flexion                     4-                            4-              5
Extension                   4-                            4-             4+
Right Rotation              4-                            4-              5
Left Rotation               4-                            4-              5
Right Side Bending          4-                            4-              5
Left Side Bending           4-                            4-              5
Lower           Initial     Goal              Last                    Current           Comments
Extremity
MMT             03-09-23                      03-09-23                04-10-23
R Hip Flex      4                             4                       4
L Hip Flex      4                             4                       4
R Knee Ext      5                             5                       5
L Knee Ext      5                             5                       5
R Knee Flex     5                             5                       5
L Knee Flex     5                             5                       5


GAIT:
WNL

POSTURE:
The patient posture was observed as forward head.

PALPATION:


No TTP noted



ACTIVITY LOG:

Exercises                               Comment   Sets         Reps       Wt     Time   Done       Spec    Provider        Weekly     Weekly
                                                                                        Today                              Goal       Goal Met
97110 - Ther-Ex / Procedure - [TP001]   ======== ===           ===        ===== 16      Yes                12907 (PTA)
                                        ========                                                           Michael Baens
Cervical Spine AROM - Rotation          hold 5                                          Yes                12907 (PTA)
                                        seconds                                                            Michael Baens
Cervical Stretch - Levator Scapula      hold 30  1             3                        Yes                12907 (PTA)
                                        seconds                                                            Michael Baens
Lumbar Spine AROM- Lower trunk                                                          Yes                12907 (PTA)

                                                                                              Patient: Ronald Wright, DOB: 11-21-1950

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Exercises                                   Comment    Sets    Reps   Wt    Time   Done       Spec    Provider        Weekly     Weekly
                                                                                   Today                              Goal       Goal Met
rotation                                                                                              Michael Baens
Cervical Spine AROM - Extension             hold 5                                 Yes                12907 (PTA)
                                            seconds                                                   Michael Baens
Thoracic Spine AROM - Rotation              hold 5   3         10                  Yes                12907 (PTA)
sidelying (open book)                       seconds                                                   Michael Baens
Cervical Spine AROM - Rotation              hold 5                                 Yes                12907 (PTA)
                                            seconds                                                   Michael Baens
97112 - Neuro Re-Ed - [TP002]               ======== ===       ===    ===== 14     Yes                12907 (PTA)
                                            ========                                                  Michael Baens
Cervical Spine - Chin Tuck                           3         10                  Yes                12907 (PTA)
                                                                                                      Michael Baens
Shoulder Scapular Retraction                           3       10     RTB          Yes                12907 (PTA)
                                                                                                      Michael Baens
Lumbar / SI Stabilization - hip flexion -              3       10                  Yes                12907 (PTA)
stability ball                                                                                        Michael Baens
Lumbar / SI Stabilization - pelvic tilts                                           Yes                12907 (PTA)
                                                                                                      Michael Baens
Lumbar / SI Stabilization - Swiss Ball      seated: hold 3     10                  Yes                12907 (PTA)
push downs                                  5 seconds                                                 Michael Baens
Dead Bug                                    hooklying:     3   10                  Yes                12907 (PTA)
                                            ball pess - 5                                             Michael Baens
                                            second hold
97140 - Manual Therapy - [TP007]            ======== ===       ===    ===== 10     Yes                12907 (PTA)
                                            ========                                                  Michael Baens
Cervical Manual                             MET +                                  Yes                12907 (PTA)
                                            passive                                                   Michael Baens
                                            stretching
Lumbar Spine Manual                         STM with                               Yes                12907 (PTA)
                                            theragun                                                  Michael Baens
97530 - Therapeutic Activity - [TP009]      ======== ===       ===    ===== 13     Yes                12907 (PTA)
                                            ========                                                  Michael Baens
HEP - written instruction provided          Pt ed: safety,                         Yes                12907 (PTA)
                                            exercise                                                  Michael Baens
                                            frequency
                                            and duration,
                                            symptom
                                            control,
                                            mechanics,
                                            and
                                            precautions.
Education on anatomy & physiology of                                               Yes                12907 (PTA)
present condition/healing time                                                                        Michael Baens
Chart Review                                                                       Yes                12907 (PTA)
                                                                                                      Michael Baens
Upright Bike                                6 min                                  Yes                12907 (PTA)
                                                                                                      Michael Baens




Activity Comments:
Mr. Wright has attended 8 sessions. He has increased his cervical ROM in all directions except R sidebending; he has
increased his lumbar flexion and L rotation and has increased his lumbar strength in all planes, as per his objective
measures. He has the most difficulty/pain when carrying/lifting things and when reaching above his shoulders and presents
w/decreased cervical ROM in all planes. Patient will benefit from skilled therapy to continue to address his impairments and

                                                                                         Patient: Ronald Wright, DOB: 11-21-1950

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progress towards his goals.


ASSESSMENT:
PN Mr. Wright has attended 8 sessions. He has increased his cervical ROM in all directions except R sidebending; he has
increased his lumbar flexion and L rotation and has increased his lumbar strength in all planes, as per his objective
measures. He has the most difficulty/pain when carrying/lifting things and when reaching above his shoulders and presents
w/decreased cervical ROM in all planes. Patient will benefit from skilled therapy to continue to address his impairments and
progress towards his goals. Assessment signed and approved by Jouan Cox PT, DPT



Patient presents with signs and symptoms that are consistent with: referring dx of Cx pain and Lx radiculopathy s/p MVA

Comorbidities and barriers to rehab include: standard precautions

The current impairments identified include: decreased cervical and lumbar ROm and pain; poor posture, decreased postural
endurance, decreased core and UE strength

The functional deficits are as follows: difficulty with sitting, prolonged standing, reading, lifting, and driving.

Skilled intervention is required to address the listed impairments and functional limitations to meet the patient's set goals.

The patient's rehab potential is good.

The patient is able to perform exercises correctly. The patient's progress towards goals is good and his tolerance to
treatment is good.

Goals                                                 Short-LongTime     Result             Comment                     Last
                                                                 Frame                                                  Assessed
Decrease pain to 6/10 or less with functional         Short Term 3 weeks Ongoing
activities
Pt will demonstrate an improvement in cervical     Short Term 3 weeks Ongoing
and lumbar ROM in all directions at least 5
degrees and no limitations due to pain.
Patient will demonstrate functional improvement Short Term 3 weeks Ongoing
in ADLS and daily activities as indicated by
decrease in functional impairment rating to <28%.
Pt will demo/verbalize independent HEP and the Long Term 6 weeks Ongoing
importance of a continued exercise/stretching
program.
Decrease pain to 3/10 or less with functional      Long Term 6 weeks Ongoing
activities
Patient will demonstrate functional improvement Long Term 6 weeks Ongoing
in ADLS and daily activities as indicated by
decrease in functional impairment rating to <15%.
Pt will be able to perform all activities such as  Long Term 6 weeks Ongoing
prolonged standing, sitting, lifting, reading, and
performing ADLS.

PLAN:
The patient's treatment will include joint and soft tissue mobilization, manual therapy, neuromuscular re-education,
therapeutic activities, therapeutic exercises, E-Stim Unattended, Hot / Cold Pack, PT Eval High Complexity, PT Eval Low
Complexity, PT Eval Moderate Complexity, PT Re-Evaluation, Community / Work Reintegration, Self Management, Dry
                                                                                     Patient: Ronald Wright, DOB: 11-21-1950

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Needling 1 or 2 Muscles, Dry Needling 3 or more muscles, Sensory Integration, patient education, Strengthening, PT Eval
Moderate Complexity and PT Eval Low Complexity . Physical Therapy will focus on improving patient's functional mobility,
strength, and functional deficits identified at initial evaluation. Planned interventions will include therapeutic activities,
therapeutic exercises, manual therapy, sensory integration, patient education, and the appropriate modalities.

Discharge Planning will include patient education and detailed Homes Exercise Program. The patient will continue therapy
2 times per week for 1 week, for an additional 2 visits and a total of 10 visits since start of care.
Patient/caregiver of patient has consented to treatment and understands the diagnosis, prognosis and treatment goals
associated with this plan of care.
Thank you for your referral. We will keep you updated on this patient's progress.

Best regards,




Michael Baens PTA


This document was electronically signed on 04-10-23 at 02:41p by Michael Baens PTA.




Jouan Cox PT DPT


This document was electronically cosigned on 04-12-23 at 08:23a by Jouan Cox PT.




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                                                                  Daily Note
Date of Visit:                         04-03-23                                                        Therapist:Michael Baens PTA
Patient Name:                          Wright, Ronald                                            Referring MD:Meetali Bindra NP
Patient #:                             2525696                                                        Time In:11:49a
Date of Birth:                         11-21-1950                                                       Time Out:12:45p
Age:                                   72

Total Time based minutes: 56 Total Treatment time: 56

Date of Onset:             01-30-23

Diagnosis:
M54.2              Cervicalgia
M54.16             Radiculopathy, lumbar region

SUBJECTIVE:
Daily: Pt reports to clinic reporting "my neck feels about the same, but doing the exercises at home really helps."



----------------------------------------------------------------------------------------------------------------------------------------------------------
Pt presents to clinic with referring dx for Cervical pain and Lumbar radiculopathy s/p mva

PMhx: uneventful
PSxhx:N/A


Contraindications:
1. Standard Precautions

OBJECTIVE:

ACTIVITY LOG:

Exercises                                     Comment         Sets      Reps       Wt        Time     Done         Spec       Provider         Weekly          Weekly
                                                                                                      Today                                    Goal            Goal Met
97110 - Ther-Ex / Procedure - [TP001]         ======== ===              ===        ===== 19           Yes                     12907 (PTA)
                                              ========                                                                        Michael Baens
Cervical Stretch - Upper Trap                          1                3                             Yes                     12907 (PTA)
                                                                                                                              Michael Baens
Cervical Spine AROM - Rotation                hold 5                                                  Yes                     12907 (PTA)
                                              seconds                                                                         Michael Baens
Cervical Stretch - Levator Scapula            hold 30         1         3                             Yes                     12907 (PTA)
                                              seconds                                                                         Michael Baens
Lumbar Spine AROM- Lower trunk                                                                        Yes                     12907 (PTA)
rotation                                                                                                                      Michael Baens
                                                                                                            Patient: Ronald Wright, DOB: 11-21-1950

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Exercises                                   Comment    Sets    Reps   Wt    Time   Done       Spec    Provider        Weekly     Weekly
                                                                                   Today                              Goal       Goal Met
Cervical Spine AROM - Extension             hold 5                                 Yes                12907 (PTA)
                                            seconds                                                   Michael Baens
Thoracic Spine AROM - Rotation              hold 5   3         10                  Yes                12907 (PTA)
sidelying (open book)                       seconds                                                   Michael Baens
Cervical Spine AROM - Rotation              hold 5                                 Yes                12907 (PTA)
                                            seconds                                                   Michael Baens
97112 - Neuro Re-Ed - [TP002]               ======== ===       ===    ===== 14     Yes                12907 (PTA)
                                            ========                                                  Michael Baens
Cervical Spine - Chin Tuck                           3         10                  Yes                12907 (PTA)
                                                                                                      Michael Baens
Shoulder Scapular Retraction                           3       10     RTB          Yes                12907 (PTA)
                                                                                                      Michael Baens
Lumbar / SI Stabilization - hip flexion -              3       10                  Yes                12907 (PTA)
stability ball                                                                                        Michael Baens
Lumbar / SI Stabilization - pelvic tilts                                           Yes                12907 (PTA)
                                                                                                      Michael Baens
Lumbar / SI Stabilization - Swiss Ball      seated: hold 3     10                  Yes                12907 (PTA)
push downs                                  5 seconds                                                 Michael Baens
Dead Bug                                    hooklying:     3   10                  Yes                12907 (PTA)
                                            ball pess - 5                                             Michael Baens
                                            second hold
97140 - Manual Therapy - [TP007]            ======== ===       ===    ===== 10     Yes                12907 (PTA)
                                            ========                                                  Michael Baens
Cervical Manual                             MET +                                  Yes                12907 (PTA)
                                            passive                                                   Michael Baens
                                            stretching
Lumbar Spine Manual                         STM with                               Yes                12907 (PTA)
                                            theragun                                                  Michael Baens
97530 - Therapeutic Activity - [TP009]      ======== ===       ===    ===== 13     Yes                12907 (PTA)
                                            ========                                                  Michael Baens
HEP - written instruction provided          Pt ed: safety,                         Yes                12907 (PTA)
                                            exercise                                                  Michael Baens
                                            frequency
                                            and duration,
                                            symptom
                                            control,
                                            mechanics,
                                            and
                                            precautions.
Education on anatomy & physiology of                                               Yes                12907 (PTA)
present condition/healing time                                                                        Michael Baens
Chart Review                                                                       Yes                12907 (PTA)
                                                                                                      Michael Baens
Upright Bike                                6 min                                  Yes                12907 (PTA)
                                                                                                      Michael Baens



ASSESSMENT:
The patient is able to perform exercises correctly. The patient's progress towards goals is good and his tolerance to
treatment is good.
Treatment remains focused on improving cervical/lumbar mobility and functional strengthening. Pt able to perform all
activities w/o an increase of symptoms. Pt responded well to manual therapy; demonstrating improved mobility afterwards.
Pt demonstrated good recall, performing all activities w/minimal cuing. Pt unable to complete bike activity, reporting pain in
R lumbar/intercostals. Will continue to progress as tolerated.

                                                                                         Patient: Ronald Wright, DOB: 11-21-1950

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Goals                                                    Short-LongTime     Result     Comment                      Last
                                                                    Frame                                           Assessed
Decrease pain to 6/10 or less with functional            Short Term 3 weeks Initial
activities
Pt will demonstrate an improvement in cervical     Short Term 3 weeks Initial
and lumbar ROM in all directions at least 5
degrees and no limitations due to pain.
Patient will demonstrate functional improvement Short Term 3 weeks Initial
in ADLS and daily activities as indicated by
decrease in functional impairment rating to <28%.
Pt will demo/verbalize independent HEP and the Long Term 6 weeks Initial
importance of a continued exercise/stretching
program.
Decrease pain to 3/10 or less with functional      Long Term 6 weeks Initial
activities
Patient will demonstrate functional improvement Long Term 6 weeks Initial
in ADLS and daily activities as indicated by
decrease in functional impairment rating to <15%.
Pt will be able to perform all activities such as  Long Term 6 weeks Initial
prolonged standing, sitting, lifting, reading, and
performing ADLS.

PLAN:

Ronald will continue with therapist management as outlined in the plan of care. This is visit # 7.

Patient/caregiver of patient has consented to treatment and understands the diagnosis, prognosis and treatment goals
associated with this plan of care.

Best regards,




Michael Baens PTA


This document was electronically signed on 04-03-23 at 12:45p by Michael Baens PTA.




Jouan Cox PT DPT


This document was electronically cosigned on 04-03-23 at 05:12p by Jouan Cox PT.




                                                                                      Patient: Ronald Wright, DOB: 11-21-1950

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                                                                Daily Note
Date of Visit:                         03-27-23                                                        Therapist:Michael Baens PTA
Patient Name:                          Wright, Ronald                                            Referring MD:Meetali Bindra NP
Patient #:                             2525696                                                        Time In:11:50a
Date of Birth:                         11-21-1950                                                       Time Out:12:47p
Age:                                   72

Total Time based minutes: 57 Total Treatment time: 57

Date of Onset:             01-30-23

Diagnosis:
M54.2              Cervicalgia
M54.16             Radiculopathy, lumbar region

SUBJECTIVE:
Daily: Pt reports to clinic reporting "I'm feeling a little better and better."



----------------------------------------------------------------------------------------------------------------------------------------------------------
Pt presents to clinic with referring dx for Cervical pain and Lumbar radiculopathy s/p mva

PMhx: uneventful
PSxhx:N/A


Contraindications:
1. Standard Precautions

OBJECTIVE:
ASSESSMENT:
The patient is able to perform exercises correctly. The patient's progress towards goals is good and his tolerance to
treatment is good.
Treatment remains focused on improving cervical/lumbar mobility. Pt able to perform all activities w/o an increase of
symptoms. Pt responded well to manual therapy; able to gain ~5 degrees of L cervical sidebending after contract-relax.
Continued w/scapular strengthening and mobility activities. Added upright bike activity to improve postural/sitting endurance
and for bilateral UE/LE movement. Will continue to progress as tolerated.


Goals                                                            Short-LongTime     Result                     Comment                                 Last
                                                                            Frame                                                                      Assessed
Decrease pain to 6/10 or less with functional                    Short Term 3 weeks Initial
activities
Pt will demonstrate an improvement in cervical                   Short Term 3 weeks Initial
and lumbar ROM in all directions at least 5
                                                                                                            Patient: Ronald Wright, DOB: 11-21-1950

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Goals                                                    Short-LongTime            Result    Comment                      Last
                                                                   Frame                                                  Assessed
degrees and no limitations due to pain.
Patient will demonstrate functional improvement Short Term 3 weeks Initial
in ADLS and daily activities as indicated by
decrease in functional impairment rating to <28%.
Pt will demo/verbalize independent HEP and the Long Term 6 weeks Initial
importance of a continued exercise/stretching
program.
Decrease pain to 3/10 or less with functional      Long Term 6 weeks Initial
activities
Patient will demonstrate functional improvement Long Term 6 weeks Initial
in ADLS and daily activities as indicated by
decrease in functional impairment rating to <15%.
Pt will be able to perform all activities such as  Long Term 6 weeks Initial
prolonged standing, sitting, lifting, reading, and
performing ADLS.

PLAN:

Ronald will continue with therapist management as outlined in the plan of care. This is visit # 6.

Patient/caregiver of patient has consented to treatment and understands the diagnosis, prognosis and treatment goals
associated with this plan of care.

Best regards,




Michael Baens PTA


This document was electronically signed on 03-27-23 at 12:54p by Michael Baens PTA.




Jouan Cox PT DPT


This document was electronically cosigned on 03-29-23 at 12:30p by Jouan Cox PT.




                                                                                            Patient: Ronald Wright, DOB: 11-21-1950

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                                                                Daily Note
Date of Visit:                         03-22-23                                                        Therapist:Michael Baens PTA
Patient Name:                          Wright, Ronald                                            Referring MD:Meetali Bindra NP
Patient #:                             2525696                                                        Time In:04:44p
Date of Birth:                         11-21-1950                                                       Time Out:05:40p
Age:                                   72

Total Time based minutes: 56 Total Treatment time: 56

Date of Onset:             01-30-23

Diagnosis:
M54.2              Cervicalgia
M54.16             Radiculopathy, lumbar region

SUBJECTIVE:
Daily: Pt reports to clinic with reporting decreased cervical and lumbar pain. He states "I feel like I can turn my head a little
more".



----------------------------------------------------------------------------------------------------------------------------------------------------------
Pt presents to clinic with referring dx for Cervical pain and Lumbar radiculopathy s/p mva

PMhx: uneventful
PSxhx:N/A


Contraindications:
1. Standard Precautions

OBJECTIVE:
ASSESSMENT:
The patient is able to perform exercises correctly. The patient's progress towards goals is good and his tolerance to
treatment is good.
Treatment remains focused on improving cervical/lumbar mobility. Pt able to perform all activities w/o an increase of
symptoms. Added seated ball pushdowns and supine ball presses for core stability. Added shoulder shrugs for upper trap
control. Will continue to progress as tolerated.

Goals                                                            Short-LongTime     Result                     Comment                                 Last
                                                                            Frame                                                                      Assessed
Decrease pain to 6/10 or less with functional                    Short Term 3 weeks Initial
activities
Pt will demonstrate an improvement in cervical                   Short Term 3 weeks Initial
and lumbar ROM in all directions at least 5
degrees and no limitations due to pain.
                                                                                                            Patient: Ronald Wright, DOB: 11-21-1950

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Goals                                              Short-LongTime    Result            Comment                      Last
                                                             Frame                                                  Assessed
Patient will demonstrate functional improvement Short Term 3 weeks Initial
in ADLS and daily activities as indicated by
decrease in functional impairment rating to <28%.
Pt will demo/verbalize independent HEP and the Long Term 6 weeks Initial
importance of a continued exercise/stretching
program.
Decrease pain to 3/10 or less with functional      Long Term 6 weeks Initial
activities
Patient will demonstrate functional improvement Long Term 6 weeks Initial
in ADLS and daily activities as indicated by
decrease in functional impairment rating to <15%.
Pt will be able to perform all activities such as  Long Term 6 weeks Initial
prolonged standing, sitting, lifting, reading, and
performing ADLS.

PLAN:

Ronald will continue with therapist management as outlined in the plan of care. This is visit # 5.

Patient/caregiver of patient has consented to treatment and understands the diagnosis, prognosis and treatment goals
associated with this plan of care.

Best regards,




Michael Baens PTA


This document was electronically signed on 03-22-23 at 05:45p by Michael Baens PTA.




Jouan Cox PT DPT


This document was electronically cosigned on 03-23-23 at 02:18p by Jouan Cox PT.




                                                                                      Patient: Ronald Wright, DOB: 11-21-1950

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                                                                  Daily Note
Date of Visit:                         03-20-23                                                        Therapist:Michael Baens PTA
Patient Name:                          Wright, Ronald                                            Referring MD:Meetali Bindra NP
Patient #:                             2525696                                                        Time In:11:56a
Date of Birth:                         11-21-1950                                                       Time Out:12:53p
Age:                                   72

Total Time based minutes: 57 Total Treatment time: 57

Date of Onset:             01-30-2023

Diagnosis:
M54.2              Cervicalgia
M54.16             Radiculopathy, lumbar region

SUBJECTIVE:
Daily: Pt reports to clinic with reports of decreased cervical pain and continued lumbar pain.



----------------------------------------------------------------------------------------------------------------------------------------------------------
Pt presents to clinic with referring dx for Cervical pain and Lumbar radiculopathy s/p mva

PMhx: uneventful
PSxhx:N/A


Contraindications:
1. Standard Precautions

OBJECTIVE:

ACTIVITY LOG:

Exercises                                     Comment         Sets      Reps       Wt        Time     Done         Spec       Provider         Weekly          Weekly
                                                                                                      Today                                    Goal            Goal Met
97110 - Ther-Ex / Procedure - [TP001]         ======== ===              ===        ===== 15           Yes                     12907 (PTA)
                                              ========                                                                        Michael Baens
Cervical Stretch - Upper Trap                          1                3                             Yes                     12907 (PTA)
                                                                                                                              Michael Baens
Cervical Spine AROM - Rotation                hold 5                                                  Yes                     12907 (PTA)
                                              seconds                                                                         Michael Baens
Cervical Stretch - Levator Scapula            hold 30         1         3                             Yes                     12907 (PTA)
                                              seconds                                                                         Michael Baens
Lumbar Spine AROM- Lower trunk                                                                        Yes                     12907 (PTA)
rotation                                                                                                                      Michael Baens
                                                                                                            Patient: Ronald Wright, DOB: 11-21-1950

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Exercises                                   Comment   Sets     Reps   Wt     Time      Done       Spec    Provider        Weekly     Weekly
                                                                                       Today                              Goal       Goal Met
Cervical Spine AROM - Extension             hold 5                                     Yes                12907 (PTA)
                                            seconds                                                       Michael Baens
Thoracic Spine AROM - Rotation              hold 5   3         10                      Yes                12907 (PTA)
sidelying (open book)                       seconds                                                       Michael Baens
Cervical Spine AROM - Rotation              hold 5                                     Yes                12907 (PTA)
                                            seconds                                                       Michael Baens
97112 - Neuro Re-Ed - [TP002]               ======== ===       ===    ===== 14         Yes                12907 (PTA)
                                            ========                                                      Michael Baens
Cervical Spine - Chin Tuck                           3         10                      Yes                12907 (PTA)
                                                                                                          Michael Baens
Shoulder Scapular Retraction                          3        10                      Yes                12907 (PTA)
                                                                                                          Michael Baens
Lumbar / SI Stabilization - hip flexion -             3        10                      Yes                12907 (PTA)
stability ball                                                                                            Michael Baens
Lumbar / SI Stabilization - pelvic tilts                                               Yes                12907 (PTA)
                                                                                                          Michael Baens
97140 - Manual Therapy - [TP007]            ======== ===       ===    ===== 16         Yes                12907 (PTA)
                                            ========                                                      Michael Baens
Cervical Manual                             MET +                                      Yes                12907 (PTA)
                                            passive                                                       Michael Baens
                                            stretching
Lumbar Spine Manual                         STM with                                   Yes                12907 (PTA)
                                            theragun                                                      Michael Baens
97530 - Therapeutic Activity - [TP009]      ======== ===       ===    ===== 12         Yes                12907 (PTA)
                                            ========                                                      Michael Baens
HEP - written instruction provided          Pt ed: safety,                             Yes                12907 (PTA)
                                            exercise                                                      Michael Baens
                                            frequency
                                            and duration,
                                            symptom
                                            control,
                                            mechanics,
                                            and
                                            precautions.
Education on anatomy & physiology of                                                   Yes                12907 (PTA)
present condition/healing time                                                                            Michael Baens
Chart Review                                                                           Yes                12907 (PTA)
                                                                                                          Michael Baens



ASSESSMENT:
The patient is able to perform exercises correctly. The patient's progress towards goals is good and his tolerance to
treatment is good.
Treatment remains focused on improving cervical/lumbar mobility. Added contract-relax for cervical rotation and
sidebending; pt demonstrated an increase of ~5-10 degrees of R sidebending afterwards. Continued w/supine and seated
cervical/lumbar mobility activities. Added supine chin tucks; pt reported discomfort towards end of exercise, but denied pain.
Will continue to progress as tolerated.

Goals                                                     Short-LongTime     Result            Comment                         Last
                                                                     Frame                                                     Assessed
Decrease pain to 6/10 or less with functional             Short Term 3 weeks Initial
activities
Pt will demonstrate an improvement in cervical            Short Term 3 weeks Initial
and lumbar ROM in all directions at least 5
                                                                                             Patient: Ronald Wright, DOB: 11-21-1950

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Goals                                                    Short-LongTime           Result    Comment                      Last
                                                                   Frame                                                 Assessed
degrees and no limitations due to pain.
Patient will demonstrate functional improvement Short Term 3 weeks Initial
in ADLS and daily activities as indicated by
decrease in functional impairment rating to <28%.
Pt will demo/verbalize independent HEP and the Long Term 6 weeks Initial
importance of a continued exercise/stretching
program.
Decrease pain to 3/10 or less with functional      Long Term 6 weeks Initial
activities
Patient will demonstrate functional improvement Long Term 6 weeks Initial
in ADLS and daily activities as indicated by
decrease in functional impairment rating to <15%.
Pt will be able to perform all activities such as  Long Term 6 weeks Initial
prolonged standing, sitting, lifting, reading, and
performing ADLS.

PLAN:

Ronald will continue with therapist management as outlined in the plan of care. This is visit # 4.

Patient/caregiver of patient has consented to treatment and understands the diagnosis, prognosis and treatment goals
associated with this plan of care.

Best regards,




Michael Baens PTA


This document was electronically signed on 03-20-23 at 01:52p by Michael Baens PTA.




Khayah Peters PT DPT


This document was electronically cosigned on 03-22-23 at 05:07p by Khayah Peters PT.




                                                                                           Patient: Ronald Wright, DOB: 11-21-1950

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                                                                Daily Note
Date of Visit:                         03-15-23                                                        Therapist:Jouan Cox PT
Patient Name:                          Wright, Ronald                                            Referring MD:Meetali Bindra NP
Patient #:                             2525696                                                        Time In:12:00p
Date of Birth:                         11-21-1950                                                       Time Out:12:53p
Age:                                   72

Total Time based minutes: 53 Total Treatment time: 53

Date of Onset:             01-30-2023

Diagnosis:
M54.2              Cervicalgia
M54.16             Radiculopathy, lumbar region

SUBJECTIVE:
The patient reports today's pain a 7 out of 10. Daily: Pt reports to clinic with decreased complaints of neck (3/10) but
continued reports of severe back pain at 7/10.



----------------------------------------------------------------------------------------------------------------------------------------------------------
Pt presents to clinic with referring dx for Cervical pain and Lumbar radiculopathy s/p mva

PMhx: uneventful
PSxhx:N/A


Contraindications:
1. Standard Precautions

OBJECTIVE:

ACTIVITY LOG:

Exercises                                     Comment         Sets      Reps       Wt        Time     Done         Spec       Provider         Weekly          Weekly
                                                                                                      Today                                    Goal            Goal Met
97110 - Ther-Ex / Procedure - [TP001]         ======== ===              ===        ===== 15           Yes                     10648 (PT)
                                              ========                                                                        Jouan A Cox
Cervical Stretch - Upper Trap                          1                3                             Yes                     10648 (PT)
                                                                                                                              Jouan A Cox
Lumbar Spine AROM- Lower trunk                                                                        Yes                     10648 (PT)
rotation                                                                                                                      Jouan A Cox
Cervical Spine AROM - Extension               hold 5                                                  Yes                     10648 (PT)
                                              seconds                                                                         Jouan A Cox
Lumbar Spine AROM- Double Knee to                                                                     Yes                     10648 (PT)
                                                                                                            Patient: Ronald Wright, DOB: 11-21-1950

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Exercises                                Comment    Sets    Reps   Wt    Time   Done       Spec    Provider      Weekly     Weekly
                                                                                Today                            Goal       Goal Met
Chest                                                                                              Jouan A Cox
Thoracic Spine AROM - Rotation           hold 5         3   10                  Yes                10648 (PT)
sidelying (open book)                    seconds                                                   Jouan A Cox
Cervical Spine AROM - Rotation           hold 5                                 Yes                10648 (PT)
                                         seconds                                                   Jouan A Cox
97140 - Manual Therapy - [TP007]         ======== ===       ===    ===== 23     Yes                10648 (PT)
                                         ========                                                  Jouan A Cox
Cervical Manual                          MET +                                  Yes                10648 (PT)
                                         passive                                                   Jouan A Cox
                                         stretching
Lumbar Spine Manual                      STM with                               Yes                10648 (PT)
                                         theragun                                                  Jouan A Cox
97530 - Therapeutic Activity - [TP009]   ======== ===       ===    ===== 15     Yes                10648 (PT)
                                         ========                                                  Jouan A Cox
HEP - written instruction provided       Pt ed: safety,                         Yes                10648 (PT)
                                         exercise                                                  Jouan A Cox
                                         frequency
                                         and duration,
                                         symptom
                                         control,
                                         mechanics,
                                         and
                                         precautions.
Education on anatomy & physiology of                                            Yes                10648 (PT)
present condition/healing time                                                                     Jouan A Cox
Chart Review                                                                    Yes                10648 (PT)
                                                                                                   Jouan A Cox



ASSESSMENT:
The patient is able to perform exercises correctly. The patient's progress towards goals is good and his tolerance to
treatment is good. Pt tolerated today's session well with no abnormal complaints. Treatment focused mostly on improving
cervical and lumbar mobilty. He responded well to manual therapy reporting imporved mobility. Will continue to progress pt
as tolerated.

Goals                                                  Short-LongTime     Result        Comment                       Last
                                                                  Frame                                               Assessed
Decrease pain to 6/10 or less with functional          Short Term 3 weeks Initial
activities
Pt will demonstrate an improvement in cervical    Short Term 3 weeks Initial
and lumbar ROM in all directions at least 5
degrees and no limitations due to pain.
Patient will demonstrate functional improvement Short Term 3 weeks Initial
in ADLS and daily activities as indicated by
decrease in functional impairment rating to <28%.
Pt will demo/verbalize independent HEP and the Long Term 6 weeks Initial
importance of a continued exercise/stretching
program.
Decrease pain to 3/10 or less with functional     Long Term 6 weeks Initial
activities
Patient will demonstrate functional improvement Long Term 6 weeks Initial
in ADLS and daily activities as indicated by
decrease in functional impairment rating to <15%.
                                                                                      Patient: Ronald Wright, DOB: 11-21-1950

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Goals                                                    Short-LongTime    Result     Comment                      Last
                                                                   Frame                                           Assessed
Pt will be able to perform all activities such as        Long Term 6 weeks Initial
prolonged standing, sitting, lifting, reading, and
performing ADLS.

PLAN:

Ronald will continue with therapist management as outlined in the plan of care. This is visit # 3.

Patient/caregiver of patient has consented to treatment and understands the diagnosis, prognosis and treatment goals
associated with this plan of care.

Best regards,




Jouan Cox PT DPT


This document was electronically signed on 03-15-23 at 01:02p by Jouan Cox PT.




                                                                                     Patient: Ronald Wright, DOB: 11-21-1950

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                                                                Daily Note
Date of Visit:                         03-13-23                                                        Therapist:Jouan Cox PT
Patient Name:                          Wright, Ronald                                            Referring MD:Meetali Bindra NP
Patient #:                             2525696                                                        Time In:12:00p
Date of Birth:                         11-21-1950                                                       Time Out:12:53p
Age:                                   72

Total Time based minutes: 53 Total Treatment time: 53

Date of Onset:             01-30-23

Diagnosis:
M54.2              Cervicalgia
M54.16             Radiculopathy, lumbar region

SUBJECTIVE:
Daily: Pt reports to clinic with continued reports of neck and back pain. He states that he attempted do exercises at home
but he had too much pain.



----------------------------------------------------------------------------------------------------------------------------------------------------------
Pt presents to clinic with referring dx for Cervical pain and Lumbar radiculopathy s/p mva

PMhx: uneventful
PSxhx:N/A


Contraindications:
1. Standard Precautions

OBJECTIVE:

ACTIVITY LOG:

Exercises                                     Comment         Sets      Reps       Wt        Time     Done         Spec       Provider         Weekly          Weekly
                                                                                                      Today                                    Goal            Goal Met
97110 - Ther-Ex / Procedure - [TP001]         ======== ===              ===        ===== 15           Yes                     10648 (PT)
                                              ========                                                                        Jouan A Cox
Cervical Stretch - Upper Trap                          1                3                             Yes                     10648 (PT)
                                                                                                                              Jouan A Cox
Lumbar Spine AROM- Lower trunk                                                                        Yes                     10648 (PT)
rotation                                                                                                                      Jouan A Cox
Cervical Spine AROM - Extension               hold 5                                                  Yes                     10648 (PT)
                                              seconds                                                                         Jouan A Cox
Cervical Spine AROM - Rotation                hold 5                                                  Yes                     10648 (PT)
                                                                                                            Patient: Ronald Wright, DOB: 11-21-1950

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Exercises                                Comment   Sets   Reps   Wt      Time    Done       Spec    Provider      Weekly     Weekly
                                                                                 Today                            Goal       Goal Met
                                         seconds                                                    Jouan A Cox
97140 - Manual Therapy - [TP007]         ======== ===     ===    ===== 23        Yes                10648 (PT)
                                         ========                                                   Jouan A Cox
Cervical Manual                          MET +                                   Yes                10648 (PT)
                                         passive                                                    Jouan A Cox
                                         stretching
97530 - Therapeutic Activity - [TP009]   ======== ===     ===    ===== 15        Yes                10648 (PT)
                                         ========                                                   Jouan A Cox
HEP - written instruction provided       Pt ed: safety,                          Yes                10648 (PT)
                                         exercise                                                   Jouan A Cox
                                         frequency
                                         and duration,
                                         symptom
                                         control,
                                         mechanics,
                                         and
                                         precautions.
Education on anatomy & physiology of                                             Yes                10648 (PT)
present condition/healing time                                                                      Jouan A Cox
Chart Review                                                                     Yes                10648 (PT)
                                                                                                    Jouan A Cox



ASSESSMENT:
The patient is able to perform exercises correctly. The patient's progress towards goals is good and his tolerance to
treatment is good. Pt reports to clinic with continued reports of neck and back pain. He admits to non compliance with HEP
thus far, but states it's due to severe nack and back pain. Manual therapy performed this date at cervical spine to improve
mobility and reduce pain. He tolerated this well, noting improved moblity following. Will continue to progress pt as tolerated.

Goals                                                Short-LongTime     Result           Comment                       Last
                                                                Frame                                                  Assessed
Decrease pain to 6/10 or less with functional        Short Term 3 weeks Initial
activities
Pt will demonstrate an improvement in cervical     Short Term 3 weeks Initial
and lumbar ROM in all directions at least 5
degrees and no limitations due to pain.
Patient will demonstrate functional improvement Short Term 3 weeks Initial
in ADLS and daily activities as indicated by
decrease in functional impairment rating to <28%.
Pt will demo/verbalize independent HEP and the Long Term 6 weeks Initial
importance of a continued exercise/stretching
program.
Decrease pain to 3/10 or less with functional      Long Term 6 weeks Initial
activities
Patient will demonstrate functional improvement Long Term 6 weeks Initial
in ADLS and daily activities as indicated by
decrease in functional impairment rating to <15%.
Pt will be able to perform all activities such as  Long Term 6 weeks Initial
prolonged standing, sitting, lifting, reading, and
performing ADLS.

PLAN:

                                                                                       Patient: Ronald Wright, DOB: 11-21-1950

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Ronald will continue with therapist management as outlined in the plan of care. This is visit # 2.

Patient/caregiver of patient has consented to treatment and understands the diagnosis, prognosis and treatment goals
associated with this plan of care.

Best regards,




Jouan Cox PT DPT


This document was electronically signed on 03-13-23 at 12:10p by Jouan Cox PT.




Amended Comment/Reason:
incorrect charges due to faulty sign off

Jouan Cox PT DPT


This document was electronically amended on 03-13-23 at 02:04p by Jouan Cox PT.




Amended Comment/Reason:
Correct charges and activities

Jouan Cox PT DPT


This document was electronically amended on 03-15-23 at 12:03p by Jouan Cox PT.




                                                                                    Patient: Ronald Wright, DOB: 11-21-1950

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                                           Initial Evaluation
Date of Visit:                 03-09-23                                         Therapist:Jouan Cox PT
Patient Name:                  Wright, Ronald                                Referring MD:Meetali Bindra NP
Patient #:                     2525696                                            Time In:04:10p
Date of Birth:                 11-21-1950                                        Time Out:05:00p
Age:                           72                                     Certification Period:03-09-23 / 04-26-23

Total Time based minutes: 20 Total Treatment time: 50

Date of Onset:       01-30-2023

Diagnosis:
M54.2          Cervicalgia
M54.16         Radiculopathy, lumbar region

SUBJECTIVE:
Ronald Wright is a 72 year old male who presents to therapy today for evaluation of Physical Therapy. The patient was
referred by Meetali Bindra, NP . Pt presents to clinic with referring dx for Cervical pain and Lumbar radiculopathy s/p MVA
on 1/30/23. Pt states that he was hit y tractor& trailer while making a turn. Pt states that he coaches soccer and basketball
but he hasn't been able to because of pain.

Presenting Problems:
The patient reports:
1. Current pain level, moderate 2. Decreased functional/ADL status, moderate 3. Difficulty sleeping, moderate 4. Loss of
motion - stiffness, moderate 5. Weakness, moderate
Patient states pain is located @ Cx & Lx spine.

Pain rating:
Currently: 8/10
At best: 7/10
At worse: 10/10

Aggravating factors: sitting, driving, picking objects from floor, reading
Alleviating factors: ibuprofen

Severity: mod
Irritability: mod The patient reports today's pain a 9 out of 10.

Functional Status                    Prior            Current
Walking                              No limitations   Moderate pain &
                                                      difficulty
Sitting                              No limitations   Moderate pain &
                                                      difficulty
Functional ADLs                      No limitations   Moderate pain &
                                                                                    Patient: Ronald Wright, DOB: 11-21-1950

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Functional Status                   Prior             Current
                                                      difficulty

Work Status:
retired

Contraindications:
1. Standard Precautions

Subjective Comments:
Pt presents to clinic with referring dx for Cervical pain and Lumbar radiculopathy.

PMhx: uneventful
PSxhx:N/A



OBJECTIVE:
LUMBAR EVALUATION
RANGE OF MOTION:
        Lumbar            Initial       Goal                                      Comments
         AROM            03-09-23
Flexion (40-60)             35           50      P!
Extension (20-30)           15           20      P!
Right Rotation (3-18)      50%          100%     P!
Left Rotation (3-18)       50%          100%     P!
Right Side Bending (15-    50%          100%     P!
25)
Left Side Bending (15-     50%          100%     P!
25)
MANUAL MUSCLE TEST:
        Lumbar            Initial       Goal                                      Comments
          MMT            03-09-23
Flexion                     4-
Extension                   4-
Right Rotation              4-
Left Rotation               4-
Right Side Bending          4-
Left Side Bending           4-
 Lower Extremity         Initial            Goal                                       Comments
        MMT             03-09-23
R Hip Flex            4
L Hip Flex            4
R Knee Ext            5
L Knee Ext            5
R Knee Flex           5
L Knee Flex           5

GAIT:
                                                                                      Patient: Ronald Wright, DOB: 11-21-1950

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WNL

POSTURE:
The patient posture was observed as forward head.

PALPATION:


No TTP noted


CERVICAL EVALUATION
RANGE OF MOTION:
        Cervical          Initial     Goal                                      Comments
         AROM            03-09-23
Flexion (45-60)             25                P!
Extension (45-50)           25                P!
Right Rotation (60-80)      21                P!
Left Rotation (60-80)       35                P!
Right Side Bend (20-45)     15                P!
Left Side Bend (20-45)      15                P!
POSTURE:
The patient posture was observed as forward head.

SENSATION:
Sensation is unremarkable.
PALPATION:
TTP at bil cervical paraspinals ( R > L)


ACTIVITY LOG:

Exercises                                Comment   Sets   Reps   Wt    Time   Done       Spec    Provider      Weekly     Weekly
                                                                              Today                            Goal       Goal Met
97530 - Therapeutic Activity - [TP009]   ======== ===     ===    ===== 20     Yes                10648 (PT)
                                         ========                                                Jouan A Cox
HEP - written instruction provided       Pt ed: safety,                       Yes                10648 (PT)
                                         exercise                                                Jouan A Cox
                                         frequency
                                         and duration,
                                         symptom
                                         control,
                                         mechanics,
                                         and
                                         precautions.
Education on anatomy & physiology of                                          Yes                10648 (PT)
present condition/healing time                                                                   Jouan A Cox
Chart Review                                                                  Yes                10648 (PT)
                                                                                                 Jouan A Cox




                                                                                    Patient: Ronald Wright, DOB: 11-21-1950

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Service Based                               Comment                                                   Status     Time   Done
                                                                                                                        Today
PT Evaluation Moderate Complexity           Eval                                                       Active     30     Yes


ASSESSMENT:
Patient presents with signs and symptoms that are consistent with: referring dx of Cx pain and Lx radiculopathy s/p MVA

Comorbidities and barriers to rehab include: standard precautions

The current impairments identified include: decreased cervical and lumbar ROm and pain; poor posture, decreased postural
endurance, decreased core and UE strength

The functional deficits are as follows: difficulty with sitting, prolonged standing, reading, lifting, and driving.

Skilled intervention is required to address the listed impairments and functional limitations to meet the patient's set goals.

 The patient's rehab potential is good. He is aware of his diagnosis. The plans and goals have been developed and
discussed with the patient. Patient consents to treatment plan and goals and gives verbal informed consent.

Goals                                             Short-Long         Time Frame Result            Comment
Decrease pain to 6/10 or less with functional Short Term             3 weeks    Initial
activities
Pt will demonstrate an improvement in             Short Term         3 weeks        Initial
cervical and lumbar ROM in all directions at
least 5 degrees and no limitations due to pain.
Patient will demonstrate functional               Short Term         3 weeks        Initial
improvement in ADLS and daily activities as
indicated by decrease in functional
impairment rating to <28%.
Pt will demo/verbalize independent HEP and Long Term                 6 weeks        Initial
the importance of a continued
exercise/stretching program.
Decrease pain to 3/10 or less with functional Long Term              6 weeks        Initial
activities
Patient will demonstrate functional               Long Term          6 weeks        Initial
improvement in ADLS and daily activities as
indicated by decrease in functional
impairment rating to <15%.
Pt will be able to perform all activities such as Long Term          6 weeks        Initial
prolonged standing, sitting, lifting, reading,
and performing ADLS.

Assessment of Complexity:
Medical and Therapy History: 1-2 personal factors and/or comorbidities that impact the plan of care.
Patient Examination: Examination of body systems was completed using standardized tests and measures addressing 3 or
more elements from any of the following: body structures and functions, activity limitations, and/or participation
restrictions.
Clinical Presentation: Evolving clinical presentation with changing characteristics.
Clinical Decision Making: Moderate complexity using standardized patient assessment instrument and/or measurable
                                                                                     Patient: Ronald Wright, DOB: 11-21-1950

                                  2838 E Atlanta Rd STE 2 Ellenwood, GA 30294-2780
                                      Phone: (678) 782-3609 Fax: (678) 782-3803
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                                                                                                                          4 of 5
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assessment of functional outcome.

Based on the documented information above, the patient complexity is determined to be moderate.
PLAN:
The patient's treatment will include joint and soft tissue mobilization, manual therapy, neuromuscular re-education,
therapeutic activities, therapeutic exercises, E-Stim Unattended, Hot / Cold Pack, PT Eval High Complexity, PT Eval Low
Complexity, PT Eval Moderate Complexity, PT Re-Evaluation, Community / Work Reintegration, Self Management, Dry
Needling 1 or 2 Muscles, Dry Needling 3 or more muscles, Sensory Integration, patient education, Strengthening, PT Eval
Moderate Complexity and PT Eval Low Complexity . Physical Therapy will focus on improving patient's functional mobility,
strength, and functional deficits identified at initial evaluation. Planned interventions will include therapeutic activities,
therapeutic exercises, manual therapy, sensory integration, patient education, and the appropriate modalities.

Discharge Planning will include patient education and detailed Homes Exercise Program. The patient will be seen 2 times
per week for 5 weeks, for a total of 10 visits.
Patient/caregiver of patient has consented to treatment and understands the diagnosis, prognosis and treatment goals
associated with this plan of care.
Thank you for your referral. We will keep you updated on this patient's progress.
Best regards,




Jouan Cox PT DPT


This document was electronically signed on 03-09-23 at 05:05p by Jouan Cox PT.




                                                                                    Patient: Ronald Wright, DOB: 11-21-1950

                                    2838 E Atlanta Rd STE 2 Ellenwood, GA 30294-2780
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Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 64 of 117




               EXHIBIT
      Medical Provider
    Copeland BrainCussion
                              A
Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 65 of 117
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Copeland Concussion                                                                      Neurology Initial Evaluation Note
3904 N Druid Hills Rd # 368, Decatur, GA 30033-3105


MIKE ROGERS
MRN :
Birthday : 1992-08-13                                                Phone :
Visited on: 2023 Apr 06 09:00 (Age at visit: 30 years)               Electronically signed by: ALEKSANDR SHIKHMAN, MD on 2023-04-06
                                                                     09:18 AM



CC                                    MVA on 05/10/22
                                      Post traumatic headache
                                      post concussion syndrome
                                      neck and back pain


HPI                                   Patient is a 30 yo male with no medical hx who was a restraint front seat passenger of a
                                      vehicle that was rear-ended on 5/10/22. He states he hit his head, no airbag deployment,
                                      no LOC. Since the accident patient has been having neck and back pain, constant with no
                                      improvement in almost a year. He states he has also developed headaches shortly after
                                      the accident, occipital in location, sharp to throbbing in nature and ranging from 2-8/10.
                                      States he has never had any brain imaging to address the headaches. Denies any other
                                      symptoms. States he recently made an appointment with Ortho/spine for his neck and
                                      back pain for evaluation and management. States he has not had any improvement of his
                                      symptoms since they started post accident.


Medications                           No known medications


MSE                                   The patient's speech was normal, sharing conversation with normal laryngeal efforts.
                                      Appropriate mood and affect were seen on exam. Thought processes were logical,
                                      relevant, and thoughts were completed normally. Thought content was normal with no
                                      psychotic or suicidal thoughts. The patient's judgement was realistic with normal insight
                                      into their present condition. Mental status included: correct time, place, person orientation,
                                      normal recent and remote memory, normal attention span and concentration ability.
                                      Language skills included the ability to correctly name objects. Fund of knowledge included
                                      normal awareness of current and past events.


ImPACT Test                           Reviewed


Assessment                            MVA
                                      post traumatic headache
                                      post concussion syndrome


Plan                                  - ImPACT test- reviewed
                                      - Neuropsychological testing for monitoring of concussion
                                      - MRI brain
                                      - Headaches, Discussed vitamin therapy to try initially and he agreed. Please advise patient
                                      to try Vitamin B2 100mg PO BID and Mg Oxide 400mg daily. Will continue to monitor for
                                      now, if frequency, severity or quality changes, advised patient to call PCP and get re-
                                      evaluated.
                                      - Will follow up in 4-6 weeks for monitoring of post-traumatic headache/concussion.
                                      Considering patient has been having symptoms for almost a year, if in 4 weeks he does
                                      not get any relief from his headaches with the vitamin therapy, patient will need referral
                                      for outpatient headache neurology as this may be a chronic problem and he will need a
                                      bedside evaluation and management
                                      - Please have patient re-take ImPACT testing prior to follow up visit to monitor progress
                                      - Neck/Back pain as per ortho/spine clinic that patient will be going to


Printed on: 2023 Apr 06 09:20                                                                                             Page 1 of 2
Note created using Kareo
              Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 69 of 117
Copeland Concussion                                                                     Neurology Initial Evaluation Note
3904 N Druid Hills Rd # 368, Decatur, GA 30033-3105


MIKE ROGERS
MRN :
Birthday : 1992-08-13                                               Phone :
Visited on: 2023 Apr 06 09:00 (Age at visit: 30 years)              Electronically signed by: ALEKSANDR SHIKHMAN, MD on 2023-04-06
                                                                    09:18 AM

                                      - Advised to avoid activities that cause or worsen the patients symptoms. Avoid sports or
                                      vigorous physical activities and minimize difficult, stressful or prolonged mental tasks.




Printed on: 2023 Apr 06 09:20                                                                                            Page 2 of 2
Note created using Kareo
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            Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 72 of 117




                                           4294 Memorial Dr. STE D1
                                               Decatur, GA 30032
                                                 678-277-5022

                          Name: Wright , Ronald        DOB: 11/21/1950
                          Test Date: 03/24/2023        Date of Accident: 01/30/2023
                          Neurologist: Dr. LaTai Brown Tech: Mrs. Rebekah Cole
                                         Referred By: United Neurology

Ocular/Vestibular Motor Skill Test:
For us to interact within our environment we must know where our environment is around us and where we are in
the environment. This interaction requires constant monitoring through three systems. These systems are the
visual system, vestibular system, and proprioceptive system. For optimal responses and interactions these reflexes
need synchronization. We must maintain gaze-holding of targets we are looking at to reduce a mismatch of
information. This mismatch of information can cause the vision to be blurry or induce dizziness with motion.
When vision has a 2-degree off-center orientation or there is a delay in processing information, blurriness,
disorientation, fogginess, and dizziness can occur.
Interpretation results are correlated with persons video ocular graphing utilizing EyeSync Technology. Reference
the graphing results for values.
Circular Smooth Pursuit:
Smooth pursuit is the ability to maintain gaze on an object. The testing is performed with gaze fixation on a target
at 15 degrees/sec at 10 degrees from center during 15 second intervals. This is evaluated in the clockwise
direction. In this testing the error in ability to keep gaze on target is examined.
Gaze holding on target with circular pursuits: Timing errors had values outside abnormal range with indications
for cerebellar errors in smooth pursuits. Radial tracking had values outside abnormal range in the right eye with
increased spatial error, fatigue, and compensatory blink activity. Lead time had values outside abnormal range
with increased compensatory frontal lobe/brainstem predictive saccades and reduced parietal lobe/brainstem
smooth pursuit mechanisms.
Normal Value Abnormal Cut Off
TE: 0.8-1.2     TE: 2.0 or above (with forward saccades)
SE: 0.5-1.0     SE: 1.0 or above
LTE -1.0 to -3.0LTE: 0.5 or above
Saccades In The Horizontal Plane:
Saccades are fast eye movement mechanisms that allow a shift of gaze from one target to the next representing
spatial accuracy of targeting and retinotopic maps.
Targeting of horizontal directed saccadic eye movements: Gaze positions in targeting of rightward eye
movements: Left eye saccades had high precision with moderate accuracy. Right eye saccades had moderate
precision with moderate accuracy. The timing series: Rightward directed eye movements were more consistently
hyper/hypometric. Gaze positions in targeting of leftward eye movements: Left eye saccades had high precision
             Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 73 of 117
with low accuracy. Right eye saccades had moderate precision with moderate accuracy. Timing series: Leftward
directed eye movements were more consistently on target with some hypometria. Combined precision had values
outside normal range in the right eye. Combined accuracy had values outside abnormal range in the left eye and
outside normal range in the right eye.
Normal Range - Horizontal Abnormal Cut Off (Observed saccadic jerking)
Combined Precision XY: 0.2-0.6Combined Precision: 0.8 or above
Combined Accuracy: 0.4-0.8    Combined Accuracy: 1.2 or above
Saccades In The Vertical Plane:
Targeting of vertical directed saccadic eye movements: Gaze position of saccades targeting vertical upward eye
movements: Left eye saccades had high precision with high accuracy. Right eye saccades had high precision with
moderate accuracy. Timing series: Upward directed eye movements were more consistently hypometric. Gaze
position of saccades targeting vertical downward eye movements: Left eye saccades had high precision with
moderate accuracy. Right eye saccades had high precision with high accuracy. Timing series: Downward directed
eye movements were more consistently hypo/hypermetric with few on target. Combined accuracy had values
outside normal range.
Normal Range - Vertical      Abnormal Cut Off
Combined Precision: 0.25-0.65Combined Precision: 0.85 or above
Combined Accuracy: 0.4-0.8 Combined Accuracy: 1.1 or above
Vestibular Ocular Reflex (VOR) In The Horizontal Plane:
The vestibular ocular reflex is an intricate relationship of synchronization between eye-head movements where
the eye and head move in opposite directions. Ideally the patient will have a VOR of 1:1 or a gain of 1.0. The
VOR reflex is elicited above 90 degrees/sec and normal speeds of up-to a 400 degree/sec VOR. The gain allows
us to find if there is a hypofunctioning VOR system. In this system the VOR is evaluated with a 10-degree visual
angle from center or a 20-degree total arc movement over 45 second period. The graphing inverts head motion to
allow better visual symmetry with ocular system.
Gaze holding on target while turning head horizontally: Horizontal VOR had mixed gain with indications for
cervical colic dysfunction. Horizontal precision had values within normal range.
Normal Range - Horizontal Abnormal Cut Off
Gain Ideal: 1:1 (1.0)
Accuracy Horizontal: -0.1 to 1.0
Precision Horizontal: 1.6-2.1 Precision Horizontal: 3.0 or above (with symptoms)
Vestibular Ocular Reflex (VOR) In The Vertical Plane:
Gaze holding on target while moving head vertically: Vertical VOR had increased gain with indications for
cervical colic dysfunction. Vertical precision had values within normal range.
Normal Range - VerticalAbnormal Cut Off
Ideal Gain: 1:1 (1.0)
Accuracy: 0.4-1.5
Precision: 1.4-2.0.    Precision: 3.1 or above (with symptoms)
Vestibular Ocular Cancelation (VORx) In The Horizontal Plane:
VORx is cancelation of VOR which allows person to follow an object of interest in the same direction of head
motion. VORx should be 1:1 or in this testing a gain of 0:0. In this system the VOR is evaluated with a 10-degree
visual angle from center or a 20-degree total arc movement. VORx is graphed without inverting sinusoidal
head/body motion. VORx is being evaluated without cervical motion.
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Gaze holding on target while turning body: VORx had reduced gain with catchup saccades. Horizontal precision
had values outside abnormal range.
Normal Range - HorizontalAbnormal Cut Off
Gain: 1:1 (0:0)
Accuracy: 0.4-1.5
Precision: 1.25-2.4      Precision: 3.6 or above (with symptoms)
Sports Concussion Assessment Tool 5 (SCAT5): is a standardized concussion assessment, used by healthcare
providers when a concussion is suspected in patients ages 13 and older. The results of evaluated categories:
Glasgow Coma Scale, 15/15. Number of Symptoms: 9/22. Symptom Severity: 13/132. Maddox Score: not
recorded/5. Total SAC: 24/30. Orientation: 5/5. Concentration: 2/5. Immediate Memory: 13/15. Delayed Recall:
4/5. Coordination: fail. Neurological Screen: abnormal.
Modified Clinical Assessment of Sensory Integration and Balance (mCTSIB):
The mCTSIB evaluates sensory contributions to postural control based on Center of Pressure (COP) Path Length.
The first trial is the "Standard" condition where balance is tested with eyes open and two feet on the firm surface.
The second (i.e., eyes closed on a firm surface), third (i.e., eyes open on a "perturbed", foam surface), and fourth
(i.e., eyes closed on a foam surface) trials give information on how proprioception, vision and vestibular
information are respectively used for balance.
Balance assessment for eyes open standing on firm surface (non-perturbed eyes open, head neutral: NPEO-HN -
Standard) was 20 with overall postural percentage rating of 30. Balance assessment for eyes closed standing on
firm surface (NPEC-HN - Proprioception) was 42 with overall postural percentage rating of 10. Balance
assessment standing on foam surface (Perturbed Stance Eyes Closed, Head Neutral – PSEO-HN - Vision) was 53
with overall postural percentage rating of 7. Balance assessment standing on perturbed surface (PSEC-HN -
Vestibular) was 186 with overall postural percentage rating of 1.
The Patient Health Questionnaire (PHQ): is a self-administered version of the PRIME-MD diagnostic
instrument for common mental disorders. The PHQ-9 is the depression module, which scores each of the 9 DSM-
IV criteria. Using the MHP reinterview as the criterion standard, a PHQ-9 score ≥10 had a sensitivity of 88% and
a specificity of 88% for major depression. There was a score of 1 with severity level of minimal depression.
Generalized Anxiety Disorder 7: (GAD-7) is a self-administered questionnaire that measures generalized
anxiety disorder (GAD). The cutoff or score of ≥10 in the GAD-7 had a sensitivity level of 89% and specificity of
82%. GAD-7 score ≥8 had a sensitivity of 77% and specificity of 82%. There was a score of 3 with severity level
being not at all difficult levels of anxiety.
                                          OVERVIEW OF FINDINGS:
Circular pursuits: Timing errors had values outside abnormal range with indications for cerebellar errors in
smooth pursuits. Radial tracking had values outside abnormal range in the right eye with increased spatial error,
fatigue, and compensatory blink activity. Lead time had values outside abnormal range with increased
compensatory frontal lobe/brainstem predictive saccades and reduced parietal lobe/brainstem smooth pursuit
mechanisms.
Horizontal targeting eye movements: Rightward directed eye movements were more consistently
hyper/hypometric. Leftward directed eye movements were more consistently on target with some hypometria.
Combined precision had values outside normal range in the right eye. Combined accuracy had values outside
abnormal range in the left eye and outside normal range in the right eye.
Vertical targeting eye movements: Upward directed eye movements were more consistently hypometric.
Downward directed eye movements were more consistently hypo/hypermetric with few on target. Combined
accuracy had values outside normal range.
Horizontal VOR: Horizontal VOR had mixed gain with indications for cervical colic dysfunction. Horizontal
precision had values within normal range.
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Vertical VOR: Vertical VOR had increased gain with indications for cervical colic dysfunction. Vertical precision
had values within normal range.
VORx: VORx had reduced gain with catchup saccades. Horizontal precision had values outside abnormal range.
Areas that integrate eye movements and gaze holding on target with VOR/VORx are the vestibular ocular
pathways peripherally and centrally, cervical ocular and cervical colic reflexes, retinal slip mechanisms, and
cerebellar networks. Cervical mechanism can also contribute to ocular mechanism and can play a role into VOR
reflexes.
SCAT 5 Glasgow Coma Scale was indicated to be 15/15 or mild. Score of ≥13 is consistent with traumatic brain
injury. Traumatic/mild traumatic brain injury can be present and associated with scoring 14-15. SCAT5 scores
showed reduction in orientation, concentration, immediate memory, and delayed recall. There was moderate
symptom scoring. Basic neurological screen was abnormal. There were coordination errors. Brain networks in the
cortex, cerebellum and vestibular system all have a considerable role in movement and brain timing.
PHQ-9 score ≥10 had increased sensitivity and specificity for depression; there was a score of 1 with severity
level minimal depression.
GAD-7 score ≥10 had increased sensitivity and specificity for anxiety and the necessity for further evaluation;
there was a score of 3 with not at all difficult levels of anxiety.
mCTSIB: Had the percentage scores ratings as following. NPEO-HN - Standard: 30. NPEC-HN -
Proprioception: 10. PSEO-HN - Visual: 7. PSEC-HN - Vestibular: 1. There was an upregulated visual system with
down regulated proprioceptive and vestibular system. There is significant risk for falls especially with eyes being
closed and/or in a low lighting environment especially when the surface is uneven.
                                             BRIEF IMPRESSION:
SCAT5 values indicate cognitive deficits and moderate symptom scoring consistent with traumatic
acceleration/deceleration (whiplash) injury. Following target in circular motion had ocular gaze holding errors.
Moving eyes quickly from one target to the next had retinotopic mapping errors. Integration errors during cervical
colic, cervical ocular, along with the vestibular ocular reflexogenic systems was evident. Balance had reduced
vestibular spinal integration, especially when on uneven surface with eyes closed and/or dim light. There is
increased risk for falls. It is probable these mechanisms are secondary to traumatic acceleration/deceleration
(whiplash) injury affecting cervical mechanisms and vestibular ocular integration. Based on the results, there is a
reasonable degree of medical certainty for cervical injury and fatigue.
                                           RECOMMENDATIONS:
Further examination with neurologist and/or head injury specialist is needed to assess and localize these
brainstem/cortical areas for proper treatment for acceleration/deceleration injury. Correlate health history and
other pathologies in cerebellum, vestibular system and cortex that may correlate with findings. Investigation
should also include cervical proprioceptive and the somatosensory system with cervical ocular reflex and its
correlates with the vestibular ocular reflex. Obtain cervical MRI if not already completed. Following physical and
neurological examination, correlate the need for additional diagnostics as appropriate. Consider vestibular ocular
and cervical ocular therapy with cervical management and functional neurological integration.



                                      LATAI E. GRANT BROWN, MD
                            Diplomate, American Board of Psychiatry and Neurology
                                   Fellowship in Clinical Neurophysiology
                                          Interpreting Neurologist
                                   TBI Diagnostic Centers of Georgia LLC

                  BENJAMIN BEHRENDT, DC, MSc, FACFN, FABBIR, FABVR, DACNB
Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 76 of 117
                Fellow American College of Functional Neurology
                Fellow American Board Brain Injury Rehabilitation
                 Fellow American Board Vestibular Rehabilitation
               Diplomate, American Chiropractic Neurology Board
           Director of Neuroscience; Neurologist’s Interpreting Assistant
                      TBI Diagnostic Centers of Georgia LLC

                           Electronically Signed
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               EXHIBIT
           Medical Provider
           United Neurology
                              A
                     Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 78 of 117



                               United Neurology, LLC                                                                      Statement ID: 310409-110698622-PREVIEW
                               1266 West Paces Ferry Rd                                                       Statement Date                   Pay This Amount                             Chart ID
                               Ste 332
                                                                                                                  05/10/2023                         $21,012.00                       WRRO000001
                               Atlanta, GA 30327
                                                                                                             SHOW AMOUNT
                                                                                                              PAID HERE:                      $


Ronald Wright                                                                                                                MAKE CHECKS PAYABLE / REMIT TO:
                                                                                                                                      United Neurology, LLC
                                                                                                                                      1266 West Paces Ferry Rd
                                                                                                                                      Ste 332
                                                                                                                                      Atlanta, GA 30327
                                                                   For questions about billing, call (678) 528-0028.
...................................................................................................................................................................................................................
                                                            Please detach and return top portion with your payment.

                                                                                        Morgan & Morgan
                                                                                     11605 Haynes Bridge Rd
                                                                                            Suite 490
                                                                                      Alpharetta, GA 30009

                                                                                 Date of Incident: 01/30/2023
                                                                                 First Date of Visit: 03/03/2023


                                                                                                                                          Statement ID:
Patient: Ronald Wright                                                               Chart ID: WRRO000001
                                                                                                                                          310409-110698622-PREVIEW


Date of
Service         Provider           Procedure                                                             Mods            Charge                Adjmt          Ins. Paid             Pt Paid           Bal Due

3/03/2023
          Dong Wang 99205 - OFFICE O/P NEW HI 60-74 MIN                                        :::                    $1,395.00                                                                     $1,395.00
01:00PM
                                                                                                        Total:        $1,395.00                                                                     $1,395.00


3/17/2023
          Dong Wang 64450 - NJX AA&/STRD OTHER PN/BRANCH                                       :::                    $3,610.00                                                                     $3,610.00
12:00PM
3/17/2023
          Dong Wang 76942 - ECHO GUIDE FOR BIOPSY                                              :::                       $576.00                                                                       $576.00
12:00PM
3/17/2023
          Dong Wang J0702 - Betamethasone acet&sod phosp                                       :::                         $94.00                                                                       $94.00
12:00PM
                                                                                                        Total:        $4,280.00                                                                     $4,280.00


3/17/2023
          Dong Wang 99214 - OFFICE O/P EST MOD 30-39 MIN                                       :::                       $697.00                                                                       $697.00
12:00PM
                                                                                                        Total:           $697.00                                                                       $697.00



        [Page 1]                                                                                                                                                     Powered by DrChrono
              Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 79 of 117



Date of
Service   Provider     Procedure                                      Mods       Charge     Adjmt   Ins. Paid   Pt Paid    Bal Due

3/17/2023
          Dong Wang J0702 - Betamethasone acet&sod phosp      :::                $94.00                                     $94.00
12:00PM
3/17/2023
          Dong Wang 20553 - INJECT TRIGGER POINTS 3/>         :::              $1,333.00                                  $1,333.00
12:00PM
                                                                      Total:   $1,427.00                                  $1,427.00


4/14/2023
          Dong Wang 64450 - NJX AA&/STRD OTHER PN/BRANCH      50:::            $3,610.00                                  $3,610.00
04:15PM
4/14/2023
          Dong Wang 76942 - ECHO GUIDE FOR BIOPSY             :::               $576.00                                    $576.00
04:15PM
4/14/2023
          Dong Wang J0702 - Betamethasone acet&sod phosp      :::                $94.00                                     $94.00
04:15PM
                                                                      Total:   $4,280.00                                  $4,280.00


4/14/2023
          Dong Wang 20610 - DRAIN/INJ JOINT/BURSA W/O US      :::              $3,320.00                                  $3,320.00
04:15PM
4/14/2023
          Dong Wang 76942 - ECHO GUIDE FOR BIOPSY             :::               $576.00                                    $576.00
04:15PM
4/14/2023
          Dong Wang J0702 - Betamethasone acet&sod phosp      :::                $94.00                                     $94.00
04:15PM
                                                                      Total:   $3,990.00                                  $3,990.00


4/14/2023
          Dong Wang 99214 - OFFICE O/P EST MOD 30-39 MIN      25:::             $697.00                                    $697.00
04:15PM
4/14/2023
          Dong Wang 99358 - PROLONG SERVICE W/O CONTACT       59:::             $248.00                                    $248.00
04:15PM
                                                                      Total:    $945.00                                    $945.00


4/21/2023
          Dong Wang 95913 - NRV CNDJ TEST 13/> STUDIES        :::              $1,995.00                                  $1,995.00
10:30AM
4/21/2023
          Dong Wang 95886 - MUSC TEST DONE W/N TEST COMP      :::               $523.00                                    $523.00
10:30AM
4/21/2023
          Dong Wang 95886 - MUSC TEST DONE W/N TEST COMP      :::               $523.00                                    $523.00
10:30AM
4/21/2023
          Dong Wang 95925 - SOMATOSENSORY TESTING             :::               $957.00                                    $957.00
10:30AM
                                                                      Total:   $3,998.00                                  $3,998.00



                                                                                                          Total Amount: $21,012.00


                                            For questions about billing, call (678) 528-0028.



     [Page 2]                                                                                           Powered by DrChrono
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              United Neurology, LLC, 1266 West Paces Ferry Rd Ste 332, Atlanta, GA 30327




[Page 3]                                                                            Powered by DrChrono
  5/5/23, 2:24 PM                                                      Encounter - Office Visit Date of service: 03/03/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050


    PATIENT                                                                            FACILITY                                            ENCOUNTER
    Ronald Wright                                                                      United Neurology, LLC                               Office Visit
    DOB                                11/21/1950                                      T (678) 528-0028                                    NOTE TYPE           SOAP Note
    AGE                                72 yrs                                          F (678) 528-0029                                    SEEN BY             Dong Wang M.D.
    SEX                                Male                                            1266 West Paces Ferry Rd, Ste 332                   DATE                03/03/2023
    PRN                                WR556050                                        Atlanta, GA 30327                                   AGE AT DOS          72 yrs
                                                                                                                                           Electronically signed by Dong Wang M.D.
                                                                                                                                           at 03/03/2023 02:25 pm

    Chief complaint
     headache and paresthesia s/p MVC. (Appt time: 3/3/2023 1:00:00 PM) (Arrival time: 12:21 PM)
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        Vitals for this encounter
                                                                                                                                                     03/03/23
                                                                                                                                                     1:00 PM
        Height                                                                                                                                         72 in
        Weight                                                                                                                                         218 lb
        Pulse                                                                                                                                         84 bpm
        BMI                                                                                                                                            29.57
        Blood pressure                                                                                                                            134/78 mmHg



        Drug Allergies
        Was medication allergy reconciliation completed?
        No selection made
        Active                                                                                                               SEVERITY/REACTIONS                   ONSET
        Patient has no known drug allergies
        Food Allergies
        Active                                                                                                               SEVERITY/REACTIONS                   ONSET
        No food allergies recorded
        Environmental Allergies
        Active                                                                                                               SEVERITY/REACTIONS                   ONSET
        No environmental allergies recorded




  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                             1/5
  5/5/23, 2:24 PM                                                      Encounter - Office Visit Date of service: 03/03/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050



        Medications
        Was medication reconciliation completed?
        Yes, reconciliation performed
        Active                                                                         SIG                                   START/STOP              ASSOCIATED DX
        Ibuprofen 800 MG Oral Tablet                                                   Take 1 tablet (800 mg) by             03/03/23 -              -
                                                                                       mouth every 8 hours with food
                                                                                       or milk as needed
          EScript (verified): 03/03/23 Prescriber: Dong Wang MD SIG: Take 1 tablet (800 mg) by mouth every 8 hours with food or milk as
        needed Refills: 3 Quantity: 30
Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 82 of 117




        Magnesium Oxide 400 MG Oral Tablet                                             1 tablet orally daily with food       -                       -
                                                                                       at bedtime
                EScript (verified): 03/03/23 Prescriber: Dong Wang MD SIG: 1 tablet orally daily with food at bedtime Refills: 3 Quantity: 30
        Nifedipine (NIFEdipine ER) 60 MG Oral                                                                                -                       -
        Tablet Extended Release 24 Hour

        Nortriptyline HCl 10 MG Oral Capsule                                           Take 1 capsule (10 mg) by             -                       -
                                                                                       mouth daily at bedtime
                EScript (verified): 03/03/23 Prescriber: Dong Wang MD SIG: Take 1 capsule (10 mg) by mouth daily at bedtime Refills: 3 Quantity:
        30
        Tamsulosin HCl (Flomax) 0.4 MG Oral                                                                                  -                       -
        Capsule

        Historical                                                                     SIG                                   START/STOP              ASSOCIATED DX
        No historical medications recorded




  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                             2/5
  5/5/23, 2:24 PM                                                      Encounter - Office Visit Date of service: 03/03/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050



        Social history
        TOBACCO USE                                                                                                                                               RECORDED
        Current tobacco use
        Non-smoker                                                                                                                                                03/03/2023
        ALCOHOL USE                                                                                                                                               RECORDED
        No alcohol use history available for this patient
        SOCIAL HISTORY (FREE-TEXT)
        No ETOH or drug abuse
        FINANCIAL RESOURCES
Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 83 of 117
                                                                                                                                                                  RECORDED
        No financial resources recorded for this patient
        EDUCATION                                                                                                                                                 RECORDED
        No education recorded for this patient
        PHYSICAL ACTIVITY                                                                                                                                         RECORDED
        No physical activity available for this patient
        NUTRITION HISTORY                                                                                                                                         RECORDED
        No nutrition history available for this patient
        STRESS                                                                                                                                                    RECORDED
        No stress available for this patient
        SOCIAL ISOLATION AND CONNECTION                                                                                                                           RECORDED
        No social isolation and connection available for this patient
        EXPOSURE TO VIOLENCE                                                                                                                                      RECORDED
        No exposure to violence history available for this patient
        GENDER IDENTITY
        No gender identity recorded for this patient
        SEXUAL ORIENTATION
        No sexual orientation recorded for this patient



        Past medical history
        MAJOR EVENTS
        PSH: none
        ONGOING MEDICAL PROBLEMS
        PMH: Glucoma
        SOCIAL HISTORY
        No ETOH or drug abuse



        Subjective
        72yo man is referred here for evaluation of headache and paresthesia s/p MVC.

        He was involved in a MVC on 1/30/2023. He was the driver and wearing seat-belt. He hit his head without LOC during the collision.
        The airbag didn't deploy. He suffered from headache, neck pain, back pain but didn't go to ER.

        He continued to have headache since the MVC. It was located in the frontal, occipital and parietal areas. It was described as aching
        and dull pain. The headache occurred daily, lasting 3-4hours, 2-8/10. The symptom was exacerbated by loud noises and sunlight.
  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                             3/5
  5/5/23, 2:24 PM                                                      Encounter - Office Visit Date of service: 03/03/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050

        Associated with bilateral shoulders pain, nausea, left eye redness, dizziness, and insomnia. The patient tried Tylenol with some
        effects.

        He presented with paresthesia since the MVC. It was located on the right arm and right leg. It was described as intermittent tingling,
        numbness and aching.

        He denied any of the above symptoms before the accident.

        ROS:
        Constitutional- No fever or weight loss, + insomnia
        Eyes- No change in vision,
        Cardiovascular- No chest pain,
        Respiratory- No shortness of breath,
Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 84 of 117




        Gastrointestinal- No nausea or vomiting,
        Genitourinary- No problems with urination,
        Musculoskeletal- As above
        Integumentary- no unusual skin lesions,
        neurological- As above,
        Psychiatric- Negative for depression or anxiety
        Endocrine- No reports of sweating, cold or heat intolerance. No polyuria or polydipsia.
        Hematological/Lymphatic- No unusual swelling of lymph nodes.
        Allergic/Immunological- Negative other than detailed above. .
        Objective

        General: NAD
        Head: Normocephalic, no lesions. Tenderness at the GON regions.
        Eyes: conjunctiva clear
        Ears: EAC's clear, TM's normal.
        Nose: Mucosa normal, no obstruction.
        Throat: Clear, no exudates, no lesions.
        Neck: Supple, no masses, no thyromegaly, and no bruits.
        Chest: Lungs clear, no rales, no rhonchi, no wheezes.
        Heart: RR, no murmurs, no rubs, no gallops.
        Abdomen: soft, NTND, BS+, no palpable masses or organomegaly.
        Extremities: No clubbing, cyanosis, or edema.
        Peripheral pulses bilaterally: Present at dorsal foot.
        Musculoskeletal: tenderness at the paraspinal muscles at C 5-6 level and B/L TCM
        NEUROLOGICAL EXAM:
        Mental status: alert , awake, oriented to name, place and date. Fluent speech. Normal naming , repeating, comprehension and
        reading. Memory 3/3 at 0 min and 3/3 at 5 min
        Cranial nerve examination: Pupils equally round and react to light. VFF. No diplopia or nystagmus. Extraocular muscles are intact.
        Fundoscopic examination is benign. Facial sensation is symmetric. No facial droop. Hearing grossly intact to finger rub. Palate
        elevation symmetrically. Tongue protrusion mid-line. Shoulder shrug normal.
        Sensory examination: pinprick and temperature sensation were diminished in both legs above the knees and in both arms above
        the elbows. The vibration and position sensation were intact.
        The pinprick, temperature, vibration and position sensation were intact.
        Motor examination: Normal tone, normal bulk, no atrophy or abnormal movement. Strength: 5/5 RUE, 5/5 RLE, 5/5 LUE，5/5 LLE.
        Deep tendon reflexes: 2+ right biceps, 2+ for left biceps, 2+ right brachioradialis,2+ left brachioradialis, 2+ right patellar, 2+ left
        patellar, 2+ right Achilles. 2+ left Achilles.
        Coordination: Finger-to-nose and heel-to-shin are within normal limits. ,
        Ambulation: Casual, heel-toe, and tandem gait are within normal limits.
        Assessment

        Diagnoses attached to this encounter:
            TBI [ICD-10: S06.9X0D], [ICD-9: 854.00], [SNOMED: 127295002]

  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                             4/5
  5/5/23, 2:24 PM                                                      Encounter - Office Visit Date of service: 03/03/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050

                    Post-concussion syndrome [ICD-10: F07.81], [ICD-9: 310.2], [SNOMED: 40425004]
                    Occipital neuralgia [ICD-10: M54.81], [ICD-9: 723.8], [SNOMED: 71760005]
                    Pain in shoulder [ICD-10: M25.519], [ICD-9: 719.41], [SNOMED: 267949000]
                    Paresthesia [ICD-10: R20.2], [ICD-9: 782.0], [SNOMED: 91019004]

        Plan
        Based on clinical findings patient is being referred for Ocular Motor and Vestibular Motor diagnostic testing.
        Start Magnesium Oxide 400 mg daily, Nortriptyline 10 mg QHS for headache prophylaxis.
        Start Ibuprofen 800 mg q8h prn HA.
        EMG for UE/LE
        Right GON block and trigger points steroid injection for better pain control.
Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 85 of 117




        Left GON block and trigger points steroid injection for better pain control.
        Discussed medication side effects.
        RTC in 3 weeks.


        Quality of care
        Was diagnosis reconciliation completed?
        No selection made
        Was medication allergy reconciliation completed?
        No selection made
        Was medication reconciliation completed?
        Yes, reconciliation performed
         No quality of care events recorded.

        Care plan
           No care plan recorded.




  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                             5/5
  5/5/23, 2:25 PM                                                      Encounter - Office Visit Date of service: 03/17/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050


    PATIENT                                                                            FACILITY                                            ENCOUNTER
    Ronald Wright                                                                      United Neurology, LLC                               Office Visit
    DOB                                11/21/1950                                      T (678) 528-0028                                    NOTE TYPE           SOAP Note
    AGE                                72 yrs                                          F (678) 528-0029                                    SEEN BY             Dong Wang M.D.
    SEX                                Male                                            1266 West Paces Ferry Rd, Ste 332                   DATE                03/17/2023
    PRN                                WR556050                                        Atlanta, GA 30327                                   AGE AT DOS          72 yrs
                                                                                                                                           Electronically signed by Dong Wang M.D.
                                                                                                                                           at 03/17/2023 12:22 pm

    Chief complaint
    No chief complaint recorded
Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 86 of 117




        Vitals for this encounter
                                                                                                                                                     03/17/23
                                                                                                                                                     12:20 PM
        Height                                                                                                                                         72 in
        Weight                                                                                                                                         218 lb
        BMI                                                                                                                                            29.57



        Drug Allergies
        Was medication allergy reconciliation completed?
        No selection made
        Active                                                                                                               SEVERITY/REACTIONS                   ONSET
        Patient has no known drug allergies
        Food Allergies
        Active                                                                                                               SEVERITY/REACTIONS                   ONSET
        No food allergies recorded
        Environmental Allergies
        Active                                                                                                               SEVERITY/REACTIONS                   ONSET
        No environmental allergies recorded




  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                             1/4
  5/5/23, 2:25 PM                                                      Encounter - Office Visit Date of service: 03/17/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050



        Medications
        Was medication reconciliation completed?
        No selection made
        Active                                                                         SIG                                   START/STOP              ASSOCIATED DX
        Ibuprofen 800 MG Oral Tablet                                                   Take 1 tablet (800 mg) by             03/03/23 -              -
                                                                                       mouth every 8 hours with food
                                                                                       or milk as needed
          EScript (verified): 03/03/23 Prescriber: Dong Wang MD SIG: Take 1 tablet (800 mg) by mouth every 8 hours with food or milk as
        needed Refills: 3 Quantity: 30
Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 87 of 117




        Magnesium Oxide 400 MG Oral Tablet                                             1 tablet orally daily with food       -                       -
                                                                                       at bedtime
                EScript (verified): 03/03/23 Prescriber: Dong Wang MD SIG: 1 tablet orally daily with food at bedtime Refills: 3 Quantity: 30
        Nifedipine (NIFEdipine ER) 60 MG Oral                                                                                -                       -
        Tablet Extended Release 24 Hour

        Nortriptyline HCl 10 MG Oral Capsule                                           Take 1 capsule (10 mg) by             -                       -
                                                                                       mouth daily at bedtime
                EScript (verified): 03/03/23 Prescriber: Dong Wang MD SIG: Take 1 capsule (10 mg) by mouth daily at bedtime Refills: 3 Quantity:
        30
        Tamsulosin HCl (Flomax) 0.4 MG Oral                                                                                  -                       -
        Capsule

        Historical                                                                     SIG                                   START/STOP              ASSOCIATED DX
        No historical medications recorded




  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                             2/4
  5/5/23, 2:25 PM                                                      Encounter - Office Visit Date of service: 03/17/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050



        Social history
        TOBACCO USE                                                                                                                                               RECORDED
        Current tobacco use
        Non-smoker                                                                                                                                                03/03/2023
        ALCOHOL USE                                                                                                                                               RECORDED
        No alcohol use history available for this patient
        SOCIAL HISTORY (FREE-TEXT)
        No ETOH or drug abuse
        FINANCIAL RESOURCES
Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 88 of 117
                                                                                                                                                                  RECORDED
        No financial resources recorded for this patient
        EDUCATION                                                                                                                                                 RECORDED
        No education recorded for this patient
        PHYSICAL ACTIVITY                                                                                                                                         RECORDED
        No physical activity available for this patient
        NUTRITION HISTORY                                                                                                                                         RECORDED
        No nutrition history available for this patient
        STRESS                                                                                                                                                    RECORDED
        No stress available for this patient
        SOCIAL ISOLATION AND CONNECTION                                                                                                                           RECORDED
        No social isolation and connection available for this patient
        EXPOSURE TO VIOLENCE                                                                                                                                      RECORDED
        No exposure to violence history available for this patient
        GENDER IDENTITY
        No gender identity recorded for this patient
        SEXUAL ORIENTATION
        No sexual orientation recorded for this patient



        Past medical history
        MAJOR EVENTS
        PSH: none
        ONGOING MEDICAL PROBLEMS
        PMH: Glucoma
        SOCIAL HISTORY
        No ETOH or drug abuse



        Subjective

        Objective

        Assessment

        Diagnoses attached to this encounter:

  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                             3/4
  5/5/23, 2:25 PM                                                      Encounter - Office Visit Date of service: 03/17/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050

                    Occipital neuralgia [ICD-10: M54.81], [ICD-9: 723.8], [SNOMED: 71760005]

        Plan
        Right greater occipital nerve block guided by ultrasound
        REASON FOR PROCEDURE: Occipital headache

        MEDICATIONS INJECTED: 0.5 mL Betamethasone (3 mg) and 2.5mL of 1% lidocaine per site

        SEDATION MEDICATIONS: None

        ESTIMATED BLOOD LOSS: None
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        COMPLICATIONS: None

        TECHNIQUE: Time-out was taken to identify the correct patient, procedure and side prior to starting the procedure. The patient was
        prepped and draped in the usual sterile fashion. The right greater occipital nerve was determined. The 1.5-inch 25-gauge needle was
        advanced into the right greater occipital nerve area. After a negative aspirate to make sure that there was no intravascular
        placement, medication was then injected slowly into each greater occipital nerve site. The procedure was completed without
        complications and was tolerated well. The ultrasound pictures were taken. The patient was monitored after the procedure. The
        patient (or responsible party) was given post-procedure and discharge instructions to follow at home. The patient was discharged in
        stable condition. A follow-up appointment was made.

        Pre-procedure pain score: 8-9/10

        Post-procedure pain score: 2/10. .


        Quality of care
        Was diagnosis reconciliation completed?
        No selection made
        Was medication allergy reconciliation completed?
        No selection made
        Was medication reconciliation completed?
        No selection made
         No quality of care events recorded.


        Care plan
           No care plan recorded.




  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                             4/4
  5/5/23, 2:26 PM                                                      Encounter - Office Visit Date of service: 03/17/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050


    PATIENT                                                                            FACILITY                                            ENCOUNTER
    Ronald Wright                                                                      United Neurology, LLC                               Office Visit
    DOB                                11/21/1950                                      T (678) 528-0028                                    NOTE TYPE           SOAP Note
    AGE                                72 yrs                                          F (678) 528-0029                                    SEEN BY             Dong Wang M.D.
    SEX                                Male                                            1266 West Paces Ferry Rd, Ste 332                   DATE                03/17/2023
    PRN                                WR556050                                        Atlanta, GA 30327                                   AGE AT DOS          72 yrs
                                                                                                                                           Electronically signed by Dong Wang M.D.
                                                                                                                                           at 03/26/2023 11:29 pm

    Chief complaint
    No chief complaint recorded
Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 90 of 117




        Vitals for this encounter
                                                                                                                                                     03/17/23
                                                                                                                                                     12:21 PM
        Height                                                                                                                                         72 in
        Weight                                                                                                                                         218 lb
        BMI                                                                                                                                            29.57



        Drug Allergies
        Was medication allergy reconciliation completed?
        No selection made
        Active                                                                                                               SEVERITY/REACTIONS                   ONSET
        Patient has no known drug allergies
        Food Allergies
        Active                                                                                                               SEVERITY/REACTIONS                   ONSET
        No food allergies recorded
        Environmental Allergies
        Active                                                                                                               SEVERITY/REACTIONS                   ONSET
        No environmental allergies recorded




  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                             1/4
  5/5/23, 2:26 PM                                                      Encounter - Office Visit Date of service: 03/17/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050



        Medications
        Was medication reconciliation completed?
        No selection made
        Active                                                                         SIG                                   START/STOP              ASSOCIATED DX
        Ibuprofen 800 MG Oral Tablet                                                   Take 1 tablet (800 mg) by             03/03/23 -              -
                                                                                       mouth every 8 hours with food
                                                                                       or milk as needed
          EScript (verified): 03/03/23 Prescriber: Dong Wang MD SIG: Take 1 tablet (800 mg) by mouth every 8 hours with food or milk as
        needed Refills: 3 Quantity: 30
Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 91 of 117




        Magnesium Oxide 400 MG Oral Tablet                                             1 tablet orally daily with food       -                       -
                                                                                       at bedtime
                EScript (verified): 03/03/23 Prescriber: Dong Wang MD SIG: 1 tablet orally daily with food at bedtime Refills: 3 Quantity: 30
        Nifedipine (NIFEdipine ER) 60 MG Oral                                                                                -                       -
        Tablet Extended Release 24 Hour

        Nortriptyline HCl 10 MG Oral Capsule                                           Take 1 capsule (10 mg) by             -                       -
                                                                                       mouth daily at bedtime
                EScript (verified): 03/03/23 Prescriber: Dong Wang MD SIG: Take 1 capsule (10 mg) by mouth daily at bedtime Refills: 3 Quantity:
        30
        Tamsulosin HCl (Flomax) 0.4 MG Oral                                                                                  -                       -
        Capsule

        Historical                                                                     SIG                                   START/STOP              ASSOCIATED DX
        No historical medications recorded




  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                             2/4
  5/5/23, 2:26 PM                                                      Encounter - Office Visit Date of service: 03/17/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050



        Social history
        TOBACCO USE                                                                                                                                               RECORDED
        Current tobacco use
        Non-smoker                                                                                                                                                03/03/2023
        ALCOHOL USE                                                                                                                                               RECORDED
        No alcohol use history available for this patient
        SOCIAL HISTORY (FREE-TEXT)
        No ETOH or drug abuse
        FINANCIAL RESOURCES
Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 92 of 117
                                                                                                                                                                  RECORDED
        No financial resources recorded for this patient
        EDUCATION                                                                                                                                                 RECORDED
        No education recorded for this patient
        PHYSICAL ACTIVITY                                                                                                                                         RECORDED
        No physical activity available for this patient
        NUTRITION HISTORY                                                                                                                                         RECORDED
        No nutrition history available for this patient
        STRESS                                                                                                                                                    RECORDED
        No stress available for this patient
        SOCIAL ISOLATION AND CONNECTION                                                                                                                           RECORDED
        No social isolation and connection available for this patient
        EXPOSURE TO VIOLENCE                                                                                                                                      RECORDED
        No exposure to violence history available for this patient
        GENDER IDENTITY
        No gender identity recorded for this patient
        SEXUAL ORIENTATION
        No sexual orientation recorded for this patient



        Past medical history
        MAJOR EVENTS
        PSH: none
        ONGOING MEDICAL PROBLEMS
        PMH: Glucoma
        SOCIAL HISTORY
        No ETOH or drug abuse



        Subjective

        Objective

        Assessment

        Diagnoses attached to this encounter:

  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                             3/4
  5/5/23, 2:26 PM                                                      Encounter - Office Visit Date of service: 03/17/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050

                    Pain in shoulder [ICD-10: M25.519], [ICD-9: 719.41], [SNOMED: 267949000]

        Plan
        Trigger point injection of the right cervical paraspinal muscles, trapezius muscle and medial scapular muscles
         Post-op Diagnosis: Same
         Anesthesia: None
        Procedure in-detail:
        The patient was positively identified by the staff and attending physician an informed consent was obtained. The area of interested
        was identified and the skin was prepped and draped in the standard sterile fashion. Following this and using a 25 ga. 1 and a half
        inch needle we injected a total of 3 trigger points.
        The patient tolerated the procedure well, no side effects or complications.
         Pain before the procedure: 8/10
Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 93 of 117



        Pain after the procedure: 3/10




        Quality of care
        Was diagnosis reconciliation completed?
        No selection made
        Was medication allergy reconciliation completed?
        No selection made
        Was medication reconciliation completed?
        No selection made
         No quality of care events recorded.

        Care plan
           No care plan recorded.




  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                             4/4
  5/10/23, 10:14 AM                                                    Encounter - Office Visit Date of service: 03/17/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050


    PATIENT                                                                           FACILITY                                            ENCOUNTER
    Ronald Wright                                                                     United Neurology, LLC                               Office Visit
    DOB                                11/21/1950                                     T (678) 528-0028                                    NOTE TYPE           SOAP Note
    AGE                                72 yrs                                         F (678) 528-0029                                    SEEN BY             Dong Wang M.D.
    SEX                                Male                                           1266 West Paces Ferry Rd, Ste 332                   DATE                03/17/2023
    PRN                                WR556050                                       Atlanta, GA 30327                                   AGE AT DOS          72 yrs
                                                                                                                                          Electronically signed by Dong Wang M.D.
                                                                                                                                          at 03/17/2023 12:21 pm

    Chief complaint
    R GON TPI (Appt time: 3/17/2023 12:00:00 PM) (Arrival time: 11:39 AM)
Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 94 of 117




        Vitals for this encounter
                                                                                                                                                    03/17/23
                                                                                                                                                    11:46 AM
        Height                                                                                                                                        72 in
        Weight                                                                                                                                        218 lb
        Pulse                                                                                                                                        87 bpm
        BMI                                                                                                                                           29.57
        Blood pressure                                                                                                                           134/73 mmHg



        Drug Allergies
        Was medication allergy reconciliation completed?
        No selection made
        Active                                                                                                             SEVERITY/REACTIONS                    ONSET
        Patient has no known drug allergies
        Food Allergies
        Active                                                                                                             SEVERITY/REACTIONS                    ONSET
        No food allergies recorded
        Environmental Allergies
        Active                                                                                                             SEVERITY/REACTIONS                    ONSET
        No environmental allergies recorded




  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                             1/5
  5/10/23, 10:14 AM                                                    Encounter - Office Visit Date of service: 03/17/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050



        Medications
        Was medication reconciliation completed?
        No selection made
        Active                                                                        SIG                                  START/STOP               ASSOCIATED DX
        Ibuprofen 800 MG Oral Tablet                                                  Take 1 tablet (800 mg) by            03/03/23 -               -
                                                                                      mouth every 8 hours with food
                                                                                      or milk as needed
          EScript (verified): 03/03/23 Prescriber: Dong Wang MD SIG: Take 1 tablet (800 mg) by mouth every 8 hours with food or milk as
        needed Refills: 3 Quantity: 30
Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 95 of 117




        Magnesium Oxide 400 MG Oral Tablet                                            1 tablet orally daily with food      -                        -
                                                                                      at bedtime
                EScript (verified): 03/03/23 Prescriber: Dong Wang MD SIG: 1 tablet orally daily with food at bedtime Refills: 3 Quantity: 30
        Nifedipine (NIFEdipine ER) 60 MG Oral                                                                              -                        -
        Tablet Extended Release 24 Hour

        Nortriptyline HCl 10 MG Oral Capsule                                          Take 1 capsule (10 mg) by            -                        -
                                                                                      mouth daily at bedtime
                EScript (verified): 03/03/23 Prescriber: Dong Wang MD SIG: Take 1 capsule (10 mg) by mouth daily at bedtime Refills: 3 Quantity:
        30
        Tamsulosin HCl (Flomax) 0.4 MG Oral                                                                                -                        -
        Capsule

        Historical                                                                    SIG                                  START/STOP               ASSOCIATED DX
        No historical medications recorded




  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                             2/5
  5/10/23, 10:14 AM                                                    Encounter - Office Visit Date of service: 03/17/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050



        Social history
        TOBACCO USE                                                                                                                                              RECORDED
        Current tobacco use
        Non-smoker                                                                                                                                               03/03/2023
        ALCOHOL USE                                                                                                                                              RECORDED
        No alcohol use history available for this patient
        SOCIAL HISTORY (FREE-TEXT)
        No ETOH or drug abuse
        FINANCIAL RESOURCES
Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 96 of 117
                                                                                                                                                                 RECORDED
        No financial resources recorded for this patient
        EDUCATION                                                                                                                                                RECORDED
        No education recorded for this patient
        PHYSICAL ACTIVITY                                                                                                                                        RECORDED
        No physical activity available for this patient
        NUTRITION HISTORY                                                                                                                                        RECORDED
        No nutrition history available for this patient
        STRESS                                                                                                                                                   RECORDED
        No stress available for this patient
        SOCIAL ISOLATION AND CONNECTION                                                                                                                          RECORDED
        No social isolation and connection available for this patient
        EXPOSURE TO VIOLENCE                                                                                                                                     RECORDED
        No exposure to violence history available for this patient
        GENDER IDENTITY
        No gender identity recorded for this patient
        SEXUAL ORIENTATION
        No sexual orientation recorded for this patient



        Past medical history
        MAJOR EVENTS
        PSH: none
        ONGOING MEDICAL PROBLEMS
        PMH: Glucoma
        SOCIAL HISTORY
        No ETOH or drug abuse



        Subjective
        72yo man is here for follow-up

        He continued to have headache since the MVC. It was located in the frontal, occipital and parietal areas. It was described as aching
        and dull pain. The headache improved from daily to 3x/week, lasting 3-4 hours, 2-8/10. The symptom was exacerbated by loud
        noises and sunlight. Associated with bilateral shoulders pain, nausea, left eye redness, dizziness, and insomnia.
        The patient is on Magnesium Oxide 400 mg daily, Nortriptyline 10 mg QHS for headache prophylaxis and on Ibuprofen 800 mg q8h
        prn for headache abortion. His headache improved since last visit.
  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                             3/5
  5/10/23, 10:14 AM                                                    Encounter - Office Visit Date of service: 03/17/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050


        He presented with paresthesia since the MVC. It was located on the right arm and right leg. It was described as intermittent tingling,
        numbness and aching. The patient is on Nortriptyline 10 mg QHS for paresthesia with good effects. It improved since last visit.


        ROS:
        Constitutional- No fever or weight loss, + insomnia
        Eyes- No change in vision,
        Cardiovascular- No chest pain,
        Respiratory- No shortness of breath,
        Gastrointestinal- No nausea or vomiting,
        Genitourinary- No problems with urination,
        Musculoskeletal- As above
Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 97 of 117




        Integumentary- no unusual skin lesions,
        neurological- As above,
        Psychiatric- Negative for depression or anxiety
        Endocrine- No reports of sweating, cold or heat intolerance. No polyuria or polydipsia.
        Hematological/Lymphatic- No unusual swelling of lymph nodes.
        Allergic/Immunological- Negative other than detailed above. .
        Objective

        General: NAD
        Head: Normocephalic, no lesions. Tenderness at the GON regions.
        Eyes: conjunctiva clear
        Ears: EAC's clear, TM's normal.
        Nose: Mucosa normal, no obstruction.
        Throat: Clear, no exudates, no lesions.
        Neck: Supple, no masses, no thyromegaly, and no bruits.
        Chest: Lungs clear, no rales, no rhonchi, no wheezes.
        Heart: RR, no murmurs, no rubs, no gallops.
        Abdomen: soft, NTND, BS+, no palpable masses or organomegaly.
        Extremities: No clubbing, cyanosis, or edema.
        Peripheral pulses bilaterally: Present at dorsal foot.
        Musculoskeletal: tenderness at the paraspinal muscles at C 5-6 level and B/L TCM
        NEUROLOGICAL EXAM:
        Mental status: alert , awake, oriented to name, place and date. Fluent speech. Normal naming , repeating, comprehension and
        reading. Memory 3/3 at 0 min and 3/3 at 5 min
        Cranial nerve examination: Pupils equally round and react to light. VFF. No diplopia or nystagmus. Extraocular muscles are intact.
        Fundoscopic examination is benign. Facial sensation is symmetric. No facial droop. Hearing grossly intact to finger rub. Palate
        elevation symmetrically. Tongue protrusion mid-line. Shoulder shrug normal.
        Sensory examination: pinprick and temperature sensation were diminished in both legs above the knees and in both arms above
        the elbows. The vibration and position sensation were intact.
        The pinprick, temperature, vibration and position sensation were intact.
        Motor examination: Normal tone, normal bulk, no atrophy or abnormal movement. Strength: 5/5 RUE, 5/5 RLE, 5/5 LUE，5/5 LLE.
        Deep tendon reflexes: 2+ right biceps, 2+ for left biceps, 2+ right brachioradialis,2+ left brachioradialis, 2+ right patellar, 2+ left
        patellar, 2+ right Achilles. 2+ left Achilles.
        Coordination: Finger-to-nose and heel-to-shin are within normal limits. ,
        Ambulation: Casual, heel-toe, and tandem gait are within normal limits.
        Assessment

        Diagnoses attached to this encounter:
            TBI [ICD-10: S06.9X0D], [ICD-9: 854.00], [SNOMED: 127295002]
                    Post-concussion syndrome [ICD-10: F07.81], [ICD-9: 310.2], [SNOMED: 40425004]
                    Occipital neuralgia [ICD-10: M54.81], [ICD-9: 723.8], [SNOMED: 71760005]

  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                             4/5
  5/10/23, 10:14 AM                                                    Encounter - Office Visit Date of service: 03/17/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050

                    Pain in shoulder [ICD-10: M25.519], [ICD-9: 719.41], [SNOMED: 267949000]
                    Paresthesia [ICD-10: R20.2], [ICD-9: 782.0], [SNOMED: 91019004]

        Plan
        Follow-up Ocular Motor and Vestibular Motor diagnostic testing.
        Continue Magnesium Oxide 400 mg daily, Nortriptyline 10 mg QHS for headache prophylaxis.
        Continue Ibuprofen 800 mg q8h prn HA.
        EMG for UE/LE
        Right GON block and trigger points steroid injection for better pain control.
        Left GON block and trigger points steroid injection for better pain control.
        Discussed medication side effects.
        RTC in 3 weeks.
Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 98 of 117




        Quality of care
        Was diagnosis reconciliation completed?
        No selection made
        Was medication allergy reconciliation completed?
        No selection made
        Was medication reconciliation completed?
        No selection made
           No quality of care events recorded.

        Care plan
           No care plan recorded.




  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                             5/5
  5/5/23, 2:28 PM                                                      Encounter - Office Visit Date of service: 04/14/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050


    PATIENT                                                                            FACILITY                                            ENCOUNTER
    Ronald Wright                                                                      United Neurology, LLC                               Office Visit
    DOB                                11/21/1950                                      T (678) 528-0028                                    NOTE TYPE           SOAP Note
    AGE                                72 yrs                                          F (678) 528-0029                                    SEEN BY             Dong Wang M.D.
    SEX                                Male                                            1266 West Paces Ferry Rd, Ste 332                   DATE                04/14/2023
    PRN                                WR556050                                        Atlanta, GA 30327                                   AGE AT DOS          72 yrs
                                                                                                                                           Electronically signed by Dong Wang M.D.
                                                                                                                                           at 05/04/2023 04:14 pm

    Chief complaint
    L GON injection
Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 99 of 117




    Vitals for this encounter
    No vitals recorded

        Drug Allergies
        Was medication allergy reconciliation completed?
        No selection made
        Active                                                                                                               SEVERITY/REACTIONS                   ONSET
        Patient has no known drug allergies

        Food Allergies
        Active                                                                                                               SEVERITY/REACTIONS                   ONSET
        No food allergies recorded

        Environmental Allergies
        Active                                                                                                               SEVERITY/REACTIONS                   ONSET
        No environmental allergies recorded




  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                             1/4
  5/5/23, 2:28 PM                                                       Encounter - Office Visit Date of service: 04/14/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050



        Medications
        Was medication reconciliation completed?
        Yes, reconciliation performed
        Active                                                                          SIG                                   START/STOP              ASSOCIATED DX
        Ibuprofen 800 MG Oral Tablet                                                    Take 1 tablet (800 mg) by             03/03/23 -              -
                                                                                        mouth every 8 hours with food
                                                                                        or milk as needed
          EScript (verified): 03/03/23 Prescriber: Dong Wang MD SIG: Take 1 tablet (800 mg) by mouth every 8 hours with food or milk as
        needed Refills: 3 Quantity: 30
Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 100 of 117




        Magnesium Oxide 400 MG Oral Tablet                                              1 tablet orally daily with food       -                       -
                                                                                        at bedtime
                EScript (verified): 03/03/23 Prescriber: Dong Wang MD SIG: 1 tablet orally daily with food at bedtime Refills: 3 Quantity: 30
        Nifedipine (NIFEdipine ER) 60 MG Oral                                                                                 -                       -
        Tablet Extended Release 24 Hour

        Nortriptyline HCl 10 MG Oral Capsule                                            Take 1 capsule (10 mg) by             -                       -
                                                                                        mouth daily at bedtime
                EScript (verified): 03/03/23 Prescriber: Dong Wang MD SIG: Take 1 capsule (10 mg) by mouth daily at bedtime Refills: 3 Quantity:
        30
        Tamsulosin HCl (Flomax) 0.4 MG Oral                                                                                   -                       -
        Capsule

        Historical                                                                      SIG                                   START/STOP              ASSOCIATED DX
        No historical medications recorded




  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                              2/4
  5/5/23, 2:28 PM                                                       Encounter - Office Visit Date of service: 04/14/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050



        Social history
        TOBACCO USE                                                                                                                                                RECORDED
        Current tobacco use
        Non-smoker                                                                                                                                                 03/03/2023
        ALCOHOL USE                                                                                                                                                RECORDED
        No alcohol use history available for this patient
        SOCIAL HISTORY (FREE-TEXT)
        No ETOH or drug abuse
        FINANCIAL RESOURCES
Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 101 of 117
                                                                                                                                                                   RECORDED
        No financial resources recorded for this patient
        EDUCATION                                                                                                                                                  RECORDED
        No education recorded for this patient
        PHYSICAL ACTIVITY                                                                                                                                          RECORDED
        No physical activity available for this patient
        NUTRITION HISTORY                                                                                                                                          RECORDED
        No nutrition history available for this patient
        STRESS                                                                                                                                                     RECORDED
        No stress available for this patient
        SOCIAL ISOLATION AND CONNECTION                                                                                                                            RECORDED
        No social isolation and connection available for this patient
        EXPOSURE TO VIOLENCE                                                                                                                                       RECORDED
        No exposure to violence history available for this patient
        GENDER IDENTITY
        No gender identity recorded for this patient
        SEXUAL ORIENTATION
        No sexual orientation recorded for this patient



        Past medical history
        MAJOR EVENTS
        PSH: none
        ONGOING MEDICAL PROBLEMS
        PMH: Glucoma
        SOCIAL HISTORY
        No ETOH or drug abuse



        Subjective

        Objective

        Assessment

        Diagnoses attached to this encounter:

  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                              3/4
  5/5/23, 2:28 PM                                                       Encounter - Office Visit Date of service: 04/14/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050

                     Occipital neuralgia [ICD-10: M54.81], [ICD-9: 723.8], [SNOMED: 71760005]

        Plan
        Left greater occipital nerve block guided by ultrasound
        REASON FOR PROCEDURE: Occipital headache

        MEDICATIONS INJECTED: 0.5 mL Betamethasone (3 mg) and 2.5mL of 1% lidocaine per site

        SEDATION MEDICATIONS: None

        ESTIMATED BLOOD LOSS: None
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        COMPLICATIONS: None

        TECHNIQUE: Time-out was taken to identify the correct patient, procedure and side prior to starting the procedure. The patient was
        prepped and draped in the usual sterile fashion. The left greater occipital nerve was determined. The 1.5-inch 25-gauge needle was
        advanced into the left greater occipital nerve area. After a negative aspirate to make sure that there was no intravascular placement,
        medication was then injected slowly into each greater occipital nerve site. The procedure was completed without complications and
        was tolerated well. The ultrasound pictures were taken. The patient was monitored after the procedure. The patient (or responsible
        party) was given post-procedure and discharge instructions to follow at home. The patient was discharged in stable condition. A
        follow-up appointment was made.

        Pre-procedure pain score: 8/10

        Post-procedure pain score: 2/10..


        Quality of care
        Was diagnosis reconciliation completed?
        No selection made
        Was medication allergy reconciliation completed?
        No selection made
        Was medication reconciliation completed?
        Yes, reconciliation performed
         No quality of care events recorded.


        Care plan
            No care plan recorded.




  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                              4/4
  5/5/23, 2:27 PM                                                       Encounter - Office Visit Date of service: 04/14/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050


    PATIENT                                                                             FACILITY                                            ENCOUNTER
    Ronald Wright                                                                       United Neurology, LLC                               Office Visit
    DOB                                 11/21/1950                                      T (678) 528-0028                                    NOTE TYPE           SOAP Note
    AGE                                 72 yrs                                          F (678) 528-0029                                    SEEN BY             Dong Wang M.D.
    SEX                                 Male                                            1266 West Paces Ferry Rd, Ste 332                   DATE                04/14/2023
    PRN                                 WR556050                                        Atlanta, GA 30327                                   AGE AT DOS          72 yrs
                                                                                                                                            Electronically signed by Dong Wang M.D.
                                                                                                                                            at 05/04/2023 04:14 pm

    Chief complaint
    L shoulder injection
Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 103 of 117




    Vitals for this encounter
    No vitals recorded

        Drug Allergies
        Was medication allergy reconciliation completed?
        No selection made
        Active                                                                                                                SEVERITY/REACTIONS                   ONSET
        Patient has no known drug allergies

        Food Allergies
        Active                                                                                                                SEVERITY/REACTIONS                   ONSET
        No food allergies recorded

        Environmental Allergies
        Active                                                                                                                SEVERITY/REACTIONS                   ONSET
        No environmental allergies recorded




  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                              1/4
  5/5/23, 2:27 PM                                                       Encounter - Office Visit Date of service: 04/14/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050



        Medications
        Was medication reconciliation completed?
        Yes, reconciliation performed
        Active                                                                          SIG                                   START/STOP              ASSOCIATED DX
        Ibuprofen 800 MG Oral Tablet                                                    Take 1 tablet (800 mg) by             03/03/23 -              -
                                                                                        mouth every 8 hours with food
                                                                                        or milk as needed
          EScript (verified): 03/03/23 Prescriber: Dong Wang MD SIG: Take 1 tablet (800 mg) by mouth every 8 hours with food or milk as
        needed Refills: 3 Quantity: 30
Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 104 of 117




        Magnesium Oxide 400 MG Oral Tablet                                              1 tablet orally daily with food       -                       -
                                                                                        at bedtime
                EScript (verified): 03/03/23 Prescriber: Dong Wang MD SIG: 1 tablet orally daily with food at bedtime Refills: 3 Quantity: 30
        Nifedipine (NIFEdipine ER) 60 MG Oral                                                                                 -                       -
        Tablet Extended Release 24 Hour

        Nortriptyline HCl 10 MG Oral Capsule                                            Take 1 capsule (10 mg) by             -                       -
                                                                                        mouth daily at bedtime
                EScript (verified): 03/03/23 Prescriber: Dong Wang MD SIG: Take 1 capsule (10 mg) by mouth daily at bedtime Refills: 3 Quantity:
        30
        Tamsulosin HCl (Flomax) 0.4 MG Oral                                                                                   -                       -
        Capsule

        Historical                                                                      SIG                                   START/STOP              ASSOCIATED DX
        No historical medications recorded




  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                              2/4
  5/5/23, 2:27 PM                                                       Encounter - Office Visit Date of service: 04/14/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050



        Social history
        TOBACCO USE                                                                                                                                                RECORDED
        Current tobacco use
        Non-smoker                                                                                                                                                 03/03/2023
        ALCOHOL USE                                                                                                                                                RECORDED
        No alcohol use history available for this patient
        SOCIAL HISTORY (FREE-TEXT)
        No ETOH or drug abuse
        FINANCIAL RESOURCES
Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 105 of 117
                                                                                                                                                                   RECORDED
        No financial resources recorded for this patient
        EDUCATION                                                                                                                                                  RECORDED
        No education recorded for this patient
        PHYSICAL ACTIVITY                                                                                                                                          RECORDED
        No physical activity available for this patient
        NUTRITION HISTORY                                                                                                                                          RECORDED
        No nutrition history available for this patient
        STRESS                                                                                                                                                     RECORDED
        No stress available for this patient
        SOCIAL ISOLATION AND CONNECTION                                                                                                                            RECORDED
        No social isolation and connection available for this patient
        EXPOSURE TO VIOLENCE                                                                                                                                       RECORDED
        No exposure to violence history available for this patient
        GENDER IDENTITY
        No gender identity recorded for this patient
        SEXUAL ORIENTATION
        No sexual orientation recorded for this patient



        Past medical history
        MAJOR EVENTS
        PSH: none
        ONGOING MEDICAL PROBLEMS
        PMH: Glucoma
        SOCIAL HISTORY
        No ETOH or drug abuse



        Subjective

        Objective

        Assessment

        Diagnoses attached to this encounter:

  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                              3/4
  5/5/23, 2:27 PM                                                       Encounter - Office Visit Date of service: 04/14/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050

                     Pain in left shoulder [ICD-10: M25.512], [ICD-9: 719.41], [SNOMED: 15916971000119109]

        Plan

        Left shoulder joint injection guided by ultrasound was performed without complications.

                                                                  PROCEDURE NOTE
        PROCEDURE: Left shoulder joint injection guided by ultrasound
        REASON FOR PROCEDURE: Shoulder pain MEDICATIONS INJECTED: 1 mL Betamethasone (6 mg) and 7 mL of 1% lidocaine LOCAL
        ANESTHETIC INJECTED: 4 mL of 1% lidocaine SEDATION MEDICATIONS: None ESTIMATED BLOOD LOSS: None COMPLICATIONS:
        None TECHNIQUE: Time-out was taken to identify the correct patient, procedure and side prior to starting the procedure. With the
        patient in sitting position, the patient was prepped and draped in the usual sterile fashion. The left shoulder joint was determined
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        by ultrasound. Local anesthetic was given first. The 2-inch 23-gauge needle was advanced into the left shoulder joint. After a
        negative aspirate to make sure that there was no intravascular placement, medication was then injected slowly. The procedure was
        completed without complications and was tolerated well. The ultrasound pictures were taken. The patient was monitored after the
        procedure. The patient (or responsible party) was given post-procedure and discharge instructions to follow at home. The patient
        was discharged in stable condition. A follow-up appointment was made. Pre-procedure pain score: 8-9/10 Post-procedure pain
        score: 0/10
                                                                           .


        Quality of care
        Was diagnosis reconciliation completed?
        No selection made
        Was medication allergy reconciliation completed?
        No selection made
        Was medication reconciliation completed?
        Yes, reconciliation performed
            No quality of care events recorded.

        Care plan
            No care plan recorded.




  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                              4/4
  5/5/23, 2:29 PM                                                       Encounter - Office Visit Date of service: 04/14/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050


    PATIENT                                                                             FACILITY                                            ENCOUNTER
    Ronald Wright                                                                       United Neurology, LLC                               Office Visit
    DOB                                 11/21/1950                                      T (678) 528-0028                                    NOTE TYPE           SOAP Note
    AGE                                 72 yrs                                          F (678) 528-0029                                    SEEN BY             Dong Wang M.D.
    SEX                                 Male                                            1266 West Paces Ferry Rd, Ste 332                   DATE                04/14/2023
    PRN                                 WR556050                                        Atlanta, GA 30327                                   AGE AT DOS          72 yrs
                                                                                                                                            Electronically signed by Dong Wang M.D.
                                                                                                                                            at 05/04/2023 04:14 pm

    Chief complaint
    Follow up (Appt time: 4/14/2023 4:15:00 PM) (Arrival time: 3:55 PM)
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         Vitals for this encounter
                                                                                                       04/14/23                        04/14/23                       04/14/23
                                                                                                       4:22 PM                         5:46 PM                        5:48 PM
         Height                                                                                           72 in                          72 in                          72 in
         Weight                                                                                          220 lb                         220 lb                         220 lb
         Pulse                                                                                          71 bpm
         BMI                                                                                             29.84                           29.84                          29.84
         Blood pressure                                                                              138/75 mmHg



        Drug Allergies
        Was medication allergy reconciliation completed?
        No selection made
        Active                                                                                                                SEVERITY/REACTIONS                   ONSET
        Patient has no known drug allergies
        Food Allergies
        Active                                                                                                                SEVERITY/REACTIONS                   ONSET
        No food allergies recorded
        Environmental Allergies
        Active                                                                                                                SEVERITY/REACTIONS                   ONSET
        No environmental allergies recorded




  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                              1/5
  5/5/23, 2:29 PM                                                       Encounter - Office Visit Date of service: 04/14/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050



        Medications
        Was medication reconciliation completed?
        Yes, reconciliation performed
        Active                                                                          SIG                                   START/STOP              ASSOCIATED DX
        Ibuprofen 800 MG Oral Tablet                                                    Take 1 tablet (800 mg) by             03/03/23 -              -
                                                                                        mouth every 8 hours with food
                                                                                        or milk as needed
          EScript (verified): 03/03/23 Prescriber: Dong Wang MD SIG: Take 1 tablet (800 mg) by mouth every 8 hours with food or milk as
        needed Refills: 3 Quantity: 30
Case 1:23-mi-99999-UNA Document 2282-2 Filed 07/19/23 Page 108 of 117




        Magnesium Oxide 400 MG Oral Tablet                                              1 tablet orally daily with food       -                       -
                                                                                        at bedtime
                EScript (verified): 03/03/23 Prescriber: Dong Wang MD SIG: 1 tablet orally daily with food at bedtime Refills: 3 Quantity: 30
        Nifedipine (NIFEdipine ER) 60 MG Oral                                                                                 -                       -
        Tablet Extended Release 24 Hour

        Nortriptyline HCl 10 MG Oral Capsule                                            Take 1 capsule (10 mg) by             -                       -
                                                                                        mouth daily at bedtime
                EScript (verified): 03/03/23 Prescriber: Dong Wang MD SIG: Take 1 capsule (10 mg) by mouth daily at bedtime Refills: 3 Quantity:
        30
        Tamsulosin HCl (Flomax) 0.4 MG Oral                                                                                   -                       -
        Capsule

        Historical                                                                      SIG                                   START/STOP              ASSOCIATED DX
        No historical medications recorded




  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                              2/5
  5/5/23, 2:29 PM                                                       Encounter - Office Visit Date of service: 04/14/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050



        Social history
        TOBACCO USE                                                                                                                                                RECORDED
        Current tobacco use
        Non-smoker                                                                                                                                                 03/03/2023
        ALCOHOL USE                                                                                                                                                RECORDED
        No alcohol use history available for this patient
        SOCIAL HISTORY (FREE-TEXT)
        No ETOH or drug abuse
        FINANCIAL RESOURCES
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                                                                                                                                                                   RECORDED
        No financial resources recorded for this patient
        EDUCATION                                                                                                                                                  RECORDED
        No education recorded for this patient
        PHYSICAL ACTIVITY                                                                                                                                          RECORDED
        No physical activity available for this patient
        NUTRITION HISTORY                                                                                                                                          RECORDED
        No nutrition history available for this patient
        STRESS                                                                                                                                                     RECORDED
        No stress available for this patient
        SOCIAL ISOLATION AND CONNECTION                                                                                                                            RECORDED
        No social isolation and connection available for this patient
        EXPOSURE TO VIOLENCE                                                                                                                                       RECORDED
        No exposure to violence history available for this patient
        GENDER IDENTITY
        No gender identity recorded for this patient
        SEXUAL ORIENTATION
        No sexual orientation recorded for this patient



        Past medical history
        MAJOR EVENTS
        PSH: none
        ONGOING MEDICAL PROBLEMS
        PMH: Glucoma
        SOCIAL HISTORY
        No ETOH or drug abuse



        Subjective
        72yo man is here for follow-up.
        He continued to have headache since the MVC on 1/30/2023. It was located in the frontal, occipital and parietal areas. It was
        described as aching and dull pain. The headache improved from daily to 3x/week, lasting shorter from 3-4 hours to 1-2 hour. The
        pain improved from 2-8/10 to 4-5/10. The symptom was exacerbated by loud noises and sunlight. Associated with bilateral
        shoulders pain and insomnia.
        The patient is on Magnesium Oxide 400 mg daily, Nortriptyline 10 mg QHS for headache prophylaxis and on Ibuprofen 800 mg q8h
        prn for headache abortion. His headache, left eye redness and dizziness improved since last visit.
  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                              3/5
  5/5/23, 2:29 PM                                                       Encounter - Office Visit Date of service: 04/14/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050


        He presented with paresthesia since the MVC. It was located on the right arm and right leg. It was described as intermittent tingling,
        numbness and aching. The patient is on Nortriptyline 10 mg QHS for paresthesia with good effects. It improved since last visit.

        ROS:
        Constitutional- No fever or weight loss, + insomnia
        Eyes- No change in vision,
        Cardiovascular- No chest pain,
        Respiratory- No shortness of breath,
        Gastrointestinal- No nausea or vomiting,
        Genitourinary- No problems with urination,
        Musculoskeletal- As above
        Integumentary- no unusual skin lesions,
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        neurological- As above,
        Psychiatric- Negative for depression or anxiety
        Endocrine- No reports of sweating, cold or heat intolerance. No polyuria or polydipsia.
        Hematological/Lymphatic- No unusual swelling of lymph nodes.
        Allergic/Immunological- Negative other than detailed above. .
        Objective
        General: NAD
        Head: Normocephalic, no lesions. Tenderness at the GON regions.
        Eyes: conjunctiva clear
        Ears: EAC's clear, TM's normal.
        Nose: Mucosa normal, no obstruction.
        Throat: Clear, no exudates, no lesions.
        Neck: Supple, no masses, no thyromegaly, and no bruits.
        Chest: Lungs clear, no rales, no rhonchi, no wheezes.
        Heart: RR, no murmurs, no rubs, no gallops.
        Abdomen: soft, NTND, BS+, no palpable masses or organomegaly.
        Extremities: No clubbing, cyanosis, or edema.
        Peripheral pulses bilaterally: Present at dorsal foot.
        Musculoskeletal: tenderness at the paraspinal muscles at C 5-6 level and B/L TCM
        NEUROLOGICAL EXAM:
        Mental status: alert , awake, oriented to name, place and date. Fluent speech. Normal naming , repeating, comprehension and
        reading. Memory 3/3 at 0 min and 3/3 at 5 min
        Cranial nerve examination: Pupils equally round and react to light. VFF. No diplopia or nystagmus. Extraocular muscles are intact.
        Fundoscopic examination is benign. Facial sensation is symmetric. No facial droop. Hearing grossly intact to finger rub. Palate
        elevation symmetrically. Tongue protrusion mid-line. Shoulder shrug normal.
        Sensory examination: pinprick and temperature sensation were diminished in both legs above the knees and in both arms above
        the elbows. The vibration and position sensation were intact.
        The pinprick, temperature, vibration and position sensation were intact.
        Motor examination: Normal tone, normal bulk, no atrophy or abnormal movement. Strength: 5/5 RUE, 5/5 RLE, 5/5 LUE，5/5 LLE.
        Deep tendon reflexes: 2+ right biceps, 2+ for left biceps, 2+ right brachioradialis,2+ left brachioradialis, 2+ right patellar, 2+ left
        patellar, 2+ right Achilles. 2+ left Achilles.
        Coordination: Finger-to-nose and heel-to-shin are within normal limits. ,
        Ambulation: Casual, heel-toe, and tandem gait are within normal limits.
        Assessment

        Diagnoses attached to this encounter:
            TBI [ICD-10: S06.9X0D], [ICD-9: 854.00], [SNOMED: 127295002]
                     Post-concussion syndrome [ICD-10: F07.81], [ICD-9: 310.2], [SNOMED: 40425004]
                     Occipital neuralgia [ICD-10: M54.81], [ICD-9: 723.8], [SNOMED: 71760005]
                     Pain in shoulder [ICD-10: M25.519], [ICD-9: 719.41], [SNOMED: 267949000]


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  5/5/23, 2:29 PM                                                       Encounter - Office Visit Date of service: 04/14/23 Patient: Ronald Wright DOB: 11/21/1950 PRN: WR556050

                     Paresthesia [ICD-10: R20.2], [ICD-9: 782.0], [SNOMED: 91019004]

        Plan
        Time was spent with patient to review Eyesync TBI graphing results, Ocular and Vestibular motor test results and interpretation
        report from TBI Diagnostic Centers. Positive TBI/concussion results were noted.
        Continue Magnesium Oxide 400 mg daily, Nortriptyline 10 mg QHS for headache prophylaxis.
        Continue Ibuprofen 800 mg q8h prn HA.
        EMG for UE/LE
        Left GON block and trigger points steroid injection for better pain control.
        Discussed medication side effects.
        RTC in 3 weeks.
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        Quality of care
        Was diagnosis reconciliation completed?
        No selection made
        Was medication allergy reconciliation completed?
        No selection made
        Was medication reconciliation completed?
        Yes, reconciliation performed
         No quality of care events recorded.


        Care plan
            No care plan recorded.




  https://static.practicefusion.com/apps/ehr/index.html?_gl=1*xx48ve*_gcl_aw*R0NMLjE2NzMzMDY3NjQuQ2p3S0NBaUFrLS1kQmhBQkVpd0FjaEl3a1…                                              5/5
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                                             United Neurology, LLC
                                               1266 West Paces Ferry Rd. Ste 332
                                                       Atlanta, GA 30327
                                         Tel: 678-528-0028 ext.102, Fax. 678-528-0029


Name: Wright, Ronald                                                                          Patient ID: rw8
Gender: Male                                                                                  Age: 72 y
Date of Birth: 11/21/1950                                                                     Date: 4/21/2023
Examining Physician: Dr.Wang

History:
72yo man presented with paresthesia since the MVC on 1/30/2023. It was located on the right arm and right leg. It was
described as intermittent tingling, numbness and aching.

Motor Nerve Conduction:
Nerve and Site            Latency   Amplitude    Segment                        Latency            Distance     Conduction
                            ms        mV                                       Difference             ms        Velocity m/s

Median.L
Wrist                        3.8       9.8       Abductor pollicis brevis-        3.8 ms              70
                                                 Wrist
Elbow                        9.6       5.6       Wrist-Elbow                      5.8 ms              290            50

Ulnar.L
Wrist                        3.0       7.6       Abductor digiti minimi           3.0 ms              80
                                                 (manus)-Wrist
Below elbow                  7.6       7.0       Wrist-Below elbow                4.6 ms              230            50
Above elbow                  9.8       6.1       Below elbow-Above elbow          2.2 ms              100            45

Median.R
Wrist                        3.4      10.4       Abductor pollicis brevis-        3.4 ms              70
                                                 Wrist
Elbow                        8.9       7.9       Wrist-Elbow                      5.5 ms              290            53

Ulnar.R
Wrist                        2.9       5.9       Abductor digiti minimi           2.9 ms              80
                                                 (manus)-Wrist
Below elbow                  7.6       5.6       Wrist-Below elbow                4.7 ms              240            51
Above elbow                  9.8       5.1       Below elbow-Above elbow          2.2 ms              110            50




Sensory Nerve Conduction:

Nerve and Site     Latency 1 ms      Amplitude      Segment                     Latency              Distance    Conduction
                                       uV                                       Difference ms          mm       Velocity m/s

Median.L
Wrist                  2.6              21          Digit II (index finger)-            2.6          150 mm          59
                                                    Wrist
Ulnar.L
Wrist                  2.3              15          Digit V (little finger)-            2.3          130 mm          57
                                                    Wrist
Radial.L
Forearm                2.0              15          Anatomical snuff box-               2.0          130 mm          66
                                                    Forearm
Radial.R
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                                                              Atlanta, GA 30327
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Forearm                       2.1               29            Anatomical snuff box-             2.1               130 mm       63
                                                              Forearm
Median.R
Wrist                         2.5               18            Digit II (index finger)-          2.5               150 mm       60
                                                              Wrist
Ulnar.R
Wrist                         2.0               12            Digit V (little finger)-          2.0               120 mm       61
                                                              Wrist

Needle EMG Examination:

                        Insertional            Spontaneous and/or Volitional Activity                   Maximum Volitional Activity
Muscle                   Insertional   Fibs   +Wave    Fasc     Duration   Amplitude     Poly         Amplitude      Pattern    Effort
1st dorsal                 Normal      None    None    None     Normal      Normal       None
interosseous.R
Triceps brachii.R         Normal       None   None     None      Normal     Normal       None
Deltoid.R                 Normal       None   None     None      Normal     Normal       None
1st dorsal                Normal       None   None     None      Normal     Normal       None
interosseous.L
Triceps brachii.L         Normal       None   None     None      Normal     Normal       None
Deltoid.L                 Normal       None   None     None      Normal     Normal       None
Abductor pollicis         Normal       None   None     None      Normal     Normal       None
brevis.L
Biceps brachii.L          Normal       None   None     None      Normal     Normal       None
Abductor pollicis         Normal       None   None     None      Normal     Normal       None
brevis.R
Biceps brachii.R          Normal       None   None     None      Normal     Normal       None

Interpretation:

Right median motor study showed normal distal latency, amplitude and conduction velocity.
Left median motor study showed normal distal latency, amplitude and conduction velocity.
Right ulnar motor nerve study showed normal distal latency, amplitude and conduction velocity.
Left ulnar motor nerve study showed borderline distal latency, normal amplitude and conduction velocity except slowed conduction
velocity across the elbow.
Bilateral radial sensory nerve responses were normal.
Right median sensory study showed slowed amplitude and normal conduction velocity.
Left median sensory study showed normal amplitude and conduction velocity.
Left ulnar sensory response showed normal amplitude and conduction velocity.
Right ulnar sensory response showed diminished amplitude and normal conduction velocity.
Needle EMG of selected muscles from bilateral C5-T1 myotomes was performed. All tested muscles appeared normal.

Conclusions:
There is electrophysiological evidence of mild right median neuropathy across the wrists as seen in Carpal Tunnel Syndrome, and
moderate bilateral ulnar neuropathies across the elbows as seen in Cubital Tunnel Syndrome.




Dong Wang, M.D.
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      EXHIBIT
  ACTUARIAL LIFE TABLE

                              A
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         EXHIBIT
       MORGAN & MORGAN

                              A
                              W-9
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